Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 1 of 73




                     EXHIBIT D
 Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 2 of 73
                          Confidential



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - x
VIRGINIA L. GIUFFRE,

            Plaintiff,
                                     Case No.:
    -against-                        15-cv-07433-RWS

GHISLAINE MAXWELL,

            Defendant.

- - - - - - - - - - - - - - - - - - - - x

                     **CONFIDENTIAL**

           Continued Videotaped Deposition of
     GHISLAINE MAXWELL, the Defendant herein,
     taken pursuant to subpoena, was held at
     the law offices of Boies, Schiller &
     Flexner, LLP, 575 Lexington Avenue, New
     York, New York, commencing July 22,
     2016, 9:04 a.m., on the above date,
     before Leslie Fagin, a Court Reporter
     and Notary Public in the State of New
     York.

                     - - -
           MAGNA LEGAL SERVICES
       1200 Avenue of the Americas
        New York, New York 10026
              (866) 624-6221
                Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 3 of 73
                                              Confidential
                                              Page 2                                                Page 4
 1
 2   APPEARANCES:
                                                        1
 3   On Behalf of the Plaintiff:                        2         MR. EDWARDS: Brad Edwards, also
 4   BOIES SCHILLER & FLEXNER, LLP
          333 Main Street                               3      representing the plaintiff, Virginia
 5        Armonk, New York 10504
     BY:    DAVID BOIES, ESQUIRE
                                                        4      Giuffre.
 6                                                      5         MR. POTTINGER: Stan Pottinger,
     BOIES SCHILLER & FLEXNER,LLP
 7       401 East Las Olas Boulevard                    6      also representing the plaintiff.
 8   BY:
         Fort Lauderdale, Florida 33301
           MEREDITH SCHULTZ, ESQUIRE
                                                        7         MR. CASSELL: Paul Cassell, from
         SIGRID McCAWLEY, ESQUIRE                       8      Salt Lake City, Utah, also representing
 9       SANDRA PERKINS, PARALEGAL
10                                                      9      Ms. Giuffre.
11
     FARMER JAFFE WEISSING EDWARDS FISTOS &
     LEHRMAN, P.L.
                                                       10         MR. PAGLIUCA: Jeff Pagliuca and
         425 N. Andrews Avenue                         11      Laura Menninger, on behalf of Ms.
12       Fort Lauderdale, Florida 33301
     BY:   BRAD EDWARDS, ESQUIRE
                                                       12      Maxwell.
13                                                     13         And Ms. McCawley has also entered
14   PAUL G. CASSELL, ESQUIRE
         383 South University Street                   14      the room, and we have an assistant from
15       Salt Lake City, Utah 84112
16
                                                       15      Boies Schiller from the Fort Lauderdale
     J. STANLEY POTTINGER, PLLC                        16      office here today as well today.
17         49 Twin Lakes Road
           South Salem, New York 10590                 17         THE VIDEOGRAPHER: Will the court
18   BY:     STAN POTTINGER, ESQUIRE                   18      reporter please swear in the witness.
19
     On Behalf of Defendant:                           19   G H I S L A I N E M A X W E L L,
20
     HADDON MORGAN FOREMAN                             20     called as a witness, having been duly
21   Attorneys for Defendant
           150 East 10th Avenue
                                                       21     sworn by a Notary Public, was
22         Denver, Colorado 80203                      22     examined and testified as follows:
     BY:     JEFFREY S. PAGLIUCA, ESQUIRE
23         LAURA A. MENNIGER, ESQUIRE                  23   EXAMINATION BY
24
     Also Present:
                                                       24   MR. BOIES:
25                                                     25      Q. Good morning, Ms. Maxwell.
                                              Page 3                                                Page 5
 1                                                      1      G. Maxwell - Confidential
 2             THE VIDEOGRAPHER: This is DVD No.        2
 3         1, Volume II, of the continued video
 4         recorded deposition of Ghislaine Maxwell
 5         in the matter Virginia Giuffre against
 6         Ghislaine Maxwell, in the United States
 7         District Court, Southern District of New
 8         York.
 9             This deposition is being held at
10         575 Lexington Avenue, New York, New
11         York, on July 22, 2016 at approximately
12         9:04 a.m.
13             My name is Rodolfo Duran. I am the
14         legal video specialist. The court
15         reporter is Leslie Fagin, and we are
16         both in association with Magna Legal
17         Services.
18             Will counsel please introduce
19         themselves.
20             MR. BOIES: This is David Boies, of
21         Boies, Schiller & Flexner, counsel for
22         plaintiff.
23             MS. SCHULTZ: Meredith Schultz,
24         from Boies Schiller & Flexner, counsel
25         for plaintiff.




                                                                                   2 (Pages 2 to 5)
      Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 4 of 73
                                Confidential
                                 Page 6                                                 Page 8
1   G. Maxwell - Confidential              1    G. Maxwell - Confidential
2                                          2
3




                                          22      MR. PAGLIUCA: Object to the form
                                          23   and foundation.
                                          24      MR. BOIES: Excuse me, counsel.
                                          25      MR. PAGLIUCA: I'm objecting to
                                 Page 7                                                 Page 9
1   G. Maxwell - Confidential              1    G. Maxwell - Confidential
2                                          2   form and foundation, and I have an
3                                          3   opportunity to do that.
                                           4      MR. BOIES: Yes, you do, but you do
                                           5   not have an opportunity to disrupt the
                                           6   deposition.
                                           7      MR. PAGLIUCA: Which I'm not.
                                           8      MR. BOIES: The court will decide
                                           9   that, as the court has decided the
                                          10   issues before.
                                          11




                                                                    3 (Pages 6 to 9)
      Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 5 of 73
                                Confidential
                                Page 10                                                    Page 12
1   G. Maxwell - Confidential              1      G. Maxwell - Confidential
2                                          2




                                Page 11                                                    Page 13
1   G. Maxwell - Confidential              1      G. Maxwell - Confidential
2                                          2                                     .
                                           3

                                                                                         .
                                           6       Q. You understand that you are under
                                           7   oath, correct?
                                           8       A. I do.
                                           9       Q. And you understand that the oath
                                          10   requires you to tell the truth, the whole
                                          11   truth and nothing but the truth in response
                                          12   to questions?
                                          13          MR. PAGLIUCA: Object to the form
                                          14       and foundation.
                                          15       Q. Do you?
                                          16       A. I do understand that.
                                          17       Q. Do you understand if you fail to do
                                          18   that, that you could be prosecuted for
                                          19   perjury?
                                          20          MR. PAGLIUCA: Object to the form
                                          21       and foundation.
                                          22       A. I understood that is what happens
                                          23   at these events.
                                          24       Q. And do you understand that if you
                                          25   say that you do not recall and in fact you do




                                                                     4 (Pages 10 to 13)
             Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 6 of 73
                                               Confidential
                                               Page 14                                                    Page 16
1        G. Maxwell - Confidential                        1      G. Maxwell - Confidential
2   recall, that would violate your oath?                 2
3          MR. PAGLIUCA: Object to the form
4       and foundation.
5       A. If I don't recall, I don't recall.
6   It's not a question of whether I'm violating
7   my oath or not. I don't know.




                                                         23      Q. Were you ever on a plane with
                                                         24   Mr. Epstein when Mr. Epstein had sex with
                                                         25   anyone?
                                               Page 15                                                    Page 17
1      G. Maxwell - Confidential                          1       G. Maxwell - Confidential
2                                                         2          MR. PAGLIUCA: Object to the form
                                                          3      and foundation.
                                                          4      A. How would I know?
                                                          5      Q. Were you ever on a plane with
                                                          6   Mr. Epstein when, to your knowledge,
                                                          7   Mr. Epstein had sex with anyone?
                                                          8      A. Can you repeat the question?
                                                          9      Q. Were you ever on a plane with
                                                         10   Mr. Epstein when, to your knowledge,
                                                         11   Mr. Epstein had sex with anyone?
                                                         12      A. Not that I can recall.
                                                         13      Q. Were you ever on a plane with
                                                         14   Mr. Epstein when you saw Mr. Epstein having
                                                         15   sex with anyone?
                                                         16      A. Never.
                                                         17      Q. I want to be sure that the question
                                                         18   and answer is meeting. When you refer to
                                                         19   having sex with someone, what are you
                                                         20   referring to?
                                                         21          MR. PAGLIUCA: Object to the form
                                                         22      and foundation.
                                                         23      A. Intercourse.
                                                         24      Q. And when you refer to intercourse,
         .                                               25   what do you refer to?




                                                                                  5 (Pages 14 to 17)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 7 of 73
                                              Confidential
                                              Page 18                                                      Page 20
 1        G. Maxwell - Confidential                      1      G. Maxwell - Confidential
 2       A. I think everyone here can                    2
 3   understand what intercourse is, is when you
 4   have sex. I don't know how to say
 5   intercourse any other way, having sex with
 6   somebody. Perhaps you would like to define
 7   it for me.
 8       Q. I'm trying to get your definition
 9   right now because you are the witness. When
10   you use the term intercourse, what are you
11   referring to?                                      11          MR. PAGLIUCA: I'm going to
12       A. I'm referring to a penis entering           12      instruct you not to answer, unless you
13   someone's vagina.                                  13      tie it to a specific individual related
14                                                      14      to this case per the court's order.
                                                        15          MR. BOIES: I think the court's
                                                        16      order specifically permits this question
                                                        17      with respect to occasions related to
                                                        18      this case. If you instruct her not to
                                                        19      answer, all you're going to do is bring
                                                        20      her back. That's up to you.
                                                        21          MR. PAGLIUCA: It's up to you as
                                                        22      the questioner, Mr. Boies.



                                              Page 19                                                      Page 21
 1      G. Maxwell - Confidential                        1      G. Maxwell - Confidential
 2                                                       2



                                                         6          You haven't tied your question to
                                                         7      time or individual or specific location.
                                                         8      And so unless you do that, we have an
                                                         9      open-ended question that would span from
                                                        10      the early '90s to 2000 or so, which
                                                        11      would not be tied to the key events,
                                                        12      individuals or locations of this case.
                                                        13   BY MR. BOIES:
                                                        14      Q. Let me ask you a couple more
                                                        15   questions. Then I think we probably ought to
                                                        16   call the court and get some guidance on this.
                                                        17




                                                        24      Q. Were you ever on Mr. Epstein's
                                                        25   plane when, to your knowledge, Mr. Epstein




                                                                                   6 (Pages 18 to 21)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 8 of 73
                                                Confidential
                                                 Page 22                                                      Page 24
 1      G. Maxwell - Confidential                           1       G. Maxwell - Confidential
 2   had oral sex with anyone                               2   court case on this list, one other person.
 3      A. No.                                              3      Q. Which one is that?
 4                                                          4      A.                   , because she has been
                                                            5   on the court papers.
                                                            6      Q.          who?
                                                            7      A.
                                                            8          The only two I know is          and
                                                            9   Virginia, and one other name I recognize.
                                                           10      Q. So just to be clear, the only two
                                                           11   people listed on Maxwell Deposition Exhibit
                                                           12   26 that you know are
                                                           13      A. And Virginia Roberts, yes.
                                                           14      Q. And the only other person on --
                                                           15      A. I don't know her, I recognize her
                                                           16   name.
                                                           17      Q. -- whose name you recognize is
                                                           18                  , but you don't know her, never
                                                           19   met her?
                                                           20      A. I don't recall ever meeting her.
                                                           21      Q. Other than what you know from her
                                                           22   participation in this case, you don't know
                                                           23   anything about her, is that your testimony?
                                                           24      A. I don't even know -- I don't even
                                                           25   recognize what her participation is in this
                                                 Page 23                                                      Page 25
 1      G. Maxwell - Confidential                           1        G. Maxwell - Confidential
 2                                                          2   case. I just know I recognize her name, and
                 .                                          3   I can't recall right now what her involvement
 4          MR. BOIES: I will show you a                    4   is, but I recognize the name.
 5       document we have marked for                        5       Q. Other than whatever her involvement
 6       identification as Maxwell Deposition               6   in this case may be or may not be?
 7       Exhibit 26.                                        7       A. Correct.
 8          (Maxwell Exhibit 26, List of names,             8       Q. Is it fair to say it is your
 9       marked for identification, as of this              9   testimony that except for that, you have no
10       date.)                                            10   knowledge about her at all?
11       Q. I would like you to go down this               11       A. Correct.
12   list and tell me which names, if any, you             12       Q. And other than                  ,
13   recognize on this list.                               13   Virginia Roberts and                  , you don't
14       A. Just in the way the list runs in               14   know anything at all about any of the other
15   order, I recognize the names -- by recognize,         15   people listed here, is that your testimony?
16   only stating that I know the name, I'm not            16       A. I don't even know who they are.
17   making any representations about these                17   You could put any names in front of me, I
18   people.                                               18   wouldn't recognize them, I don't know them, I
19       Q. I understand that, and I will come             19   don't even recognize the names.
20   back and ask you, but if you don't recognize          20       Q. I think this is clear from your
21   the name...                                           21   last answer, but I want to be sure. It is
22       A.                 . Virginia Roberts.            22   your testimony that other than
23   And that's it on this list. Let me just               23   and Virginia Roberts, you never met any of
24   double-check. I recognize the name, not               24   these people at any homes of Mr. Epstein, is
25   because I know her, but just because of the           25   that your testimony?




                                                                                       7 (Pages 22 to 25)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 9 of 73
                                                  Confidential
                                                   Page 26                                                 Page 28
 1        G. Maxwell - Confidential                           1       G. Maxwell - Confidential
 2           MR. PAGLIUCA: Object to the form                 2   a massage at his home in New York, regardless
 3       and foundation.                                      3   of where in the home it was?
 4       A. I don't even know who they are, so                4      A. No.
 5   I wouldn't -- I have no clue who they are, I             5      Q. Have you ever seen anyone give
 6   don't know where they are, I don't know where            6   Mr. Epstein a massage at his home in Palm
 7   they come from, I don't recognize -- I only              7   Beach?
 8   pointed out                   because I recognize        8      A. I have.
 9   the name from various documents I read. I                9      Q. Have you ever seen anyone give
10   don't have any knowledge of any other person            10   Mr. Epstein a massage in New Mexico?
11   on this list. I don't believe I've ever even            11      A. No, I can't recall.
12   seen these names. I don't know who they are             12      Q. Have you ever seen anyone give
13   at all.                                                 13   Mr. Epstein a massage in the Virgin Islands?
14           I would not be able to identify a               14      A. I have.
15   single name on this list other than those               15      Q. Have you ever seen anyone give
16   three that I have indicated to you.                     16   Mr. Epstein a massage in Paris?
17                                                           17      A. No, I don't recall seeing that.
                                                             18      Q. Have you ever seen anyone give
                                                             19   Mr. Epstein a massage on an airplane?
                                                             20      A. No.
                                                             21      Q. Have you ever seen anyone give
                                                             22   Mr. Epstein a massage anywhere other than his
                                                             23   home in Palm Beach or in the Virgin Islands?
                                                             24      A. I'm sorry, can you just repeat the
                                                             25   question?
                                                   Page 27                                                 Page 29
 1      G. Maxwell - Confidential                             1       G. Maxwell - Confidential
 2                                                            2       Q. Have you ever seen anyone give
                                                              3   Mr. Epstein a massage anywhere other than in
                                                              4   his home in Palm Beach or in the Virgin
 5      Q. Did you provide massages to                        5   Islands?
 6   Mr. Epstein?                                             6       A. No, I can't think of anyplace.
 7      A. No.                                                7       Q. Have you ever seen anyone give
 8      Q. What?                                              8   Mr. Epstein a massage when Mr. Epstein was
 9      A. No.                                                9   not clothed?
10      Q. Were you ever present when anyone                 10       A. Sorry, can you repeat the question?
11   provided a massage to Mr. Epstein?                      11       Q. Have you ever seen anyone give
12          MR. PAGLIUCA: Object to the form                 12   Mr. Epstein a massage when Mr. Epstein was
13      and foundation.                                      13   not clothed?
14      A. I have seen people give Mr. Epstein               14       A. I think when Mr. Epstein received
15   massages. I have seen him on a massage                  15   massages, he never had clothes on.
16   table. I have seen that.                                16       Q. Who did you see give Mr. Epstein a
17      Q. Have you seen someone other than                  17   massage?
18   yourself give Mr. Epstein a massage at his              18       A. I can't recall the "whos" because I
19   home in New York?                                       19   don't really remember, but I have seen him
20      A. I can't recall seeing him in the                  20   receive massages from professional adult
21   massage room in New York, no.                           21   masseuses that I have seen him receive
22      Q. I'm not asking whether you recall                 22   massages.
23   seeing him in the massage room in New York.             23       Q. When you say professional adult
24   I'm asking you whether you have ever seen               24   masseuses, what are you referring to?
25   someone other than yourself give Mr. Epstein            25       A. I just want to be sure that we




                                                                                      8 (Pages 26 to 29)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 10 of 73
                                                    Confidential
                                                    Page 30                                                  Page 32
 1       G. Maxwell - Confidential                             1       G. Maxwell - Confidential
 2   understand that the times I have seen him                 2   as professional massages, you were clothed or
 3   receive a massage it's been by somebody who               3   unclothed?
 4   is an adult, clearly an older person. I                   4       A. Unclothed.
 5   don't know if they're professional, but an                5       Q. Completely unclothed?
 6   older person appearing to be a professional               6       A. Typically when you receive a
 7   masseuse.                                                 7   massage you are not clothed, so I was
 8       Q. What led you to believe that the                   8   unclothed, as is the norm in a massage
 9   person giving the massage was a professional              9   situation.
10   masseuse?                                                10       Q. That is, you didn't have any
11       A. Because the massages that I                       11   clothes on, is that the case?
12   witnessed looked professional. I don't know              12       A. Generally, what happens is you are
13   how to -- I'm defining it as opposed to the              13   not wearing any clothes and you have a towel
14   ones from where people ask me inappropriate              14   or sheet that covers you while you are
15   questions, I couldn't answer, but these are              15   receiving the massage, so I would be covered
16   people who would be clothed giving a                     16   always, but underneath the sheet or towel, I
17   professional massage, it appeared to be a                17   would not be wearing any clothing.
18   professional massage, as opposed to any other            18       Q. Are you saying that the massage was
19   type of massage.                                         19   through the sheet?
20       Q. Have you ever had what you refer to               20       A. Well, in some instances, yes.
21   as a professional massage?                               21       Q. It is your testimony that when you
22       A. I have.                                           22   received what you referred to as professional
23       Q. Have you ever had what you refer to               23   massages, the masseuse didn't touch your
24   as a professional massage in any of Mr.                  24   skin, only touched the sheet?
25   Epstein's homes?                                         25          MR. PAGLIUCA: Object to the form
                                                    Page 31                                                  Page 33
 1       G. Maxwell - Confidential                             1       G. Maxwell - Confidential
 2       A. I have.                                            2      and foundation.
 3       Q. Did you ever have what you refer to                3      A. I didn't say that. I said in some
 4   as a professional massage in Mr. Epstein's                4   instances, some massages are where you don't
 5   home in New York?                                         5   touch the skin, so I have received massages
 6       A. I don't recall, but I think I have,                6   where I don't get touched, especially if it's
 7   but I don't recall. I must have, but I don't              7   just pressure, so it's through a sheet, but I
 8   recall.                                                   8   have also received massages where you are
 9       Q. Did you ever have what you refer to                9   touched and the sheet is just there for
10   as a professional massage in Mr. Epstein's               10   modesty.
11   home in Palm Beach?                                      11      Q. Have you ever received what you
12       A. I did.                                            12   referred to as a professional massage when
13       Q. Did you ever have what you refer to               13   anyone else was in the room other than the
14   as a professional massage in Mr. Epstein's               14   person that you are referring to as a
15   home in New Mexico?                                      15   professional masseuse?
16       A. I did.                                            16          MR. PAGLIUCA: Object to the form
17       Q. Did you ever have what you refer to               17      and foundation.
18   as a professional massage in Mr. Epstein's               18      A. Can you repeat the question,
19   home in Paris?                                           19   please?
20       A. I did.                                            20      Q. Have you ever received a massage
21       Q. Did you ever have what you refer to               21   when anyone was in the room other than the
22   as a professional massage in the Virgin                  22   person that you refer to as a professional
23   Islands?                                                 23   masseuse?
24       A. I did.                                            24          MR. PAGLIUCA: Same objection.
25       Q. When you had what you referred to                 25      A. I am entirely possible that in the




                                                                                        9 (Pages 30 to 33)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 11 of 73
                                               Confidential
                                               Page 34                                                Page 36
 1        G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2   course of receiving a massage someone would          2   home to give him a massage, other than
 3   come in and sit and chat to me while I was           3   someone who had previously given you a
 4   getting a massage, a friend would come in.           4   massage?
 5   That has happened.                                   5       A. No, I don't think so. No, I don't
 6       Q. Do you recall that happening?                 6   think so.
 7       A. Not with specificity, I can't think           7       Q. Is it your testimony that everyone
 8   of it actually, but I know that I've had             8   that you arranged to come to Mr. Epstein's
 9   friends come in and we've talked and as I got        9   home to give Mr. Epstein a massage was
10   a massage, that has happened.                       10   somebody you had already had a massage from?
11       Q. Have you ever received a massage             11       A. No, that is not my testimony. I
12   when Mr. Epstein was present?                       12   don't recall -- there were definitely
13       A. He has entered the room and gave me          13   instances where I had a massage and -- so
14   a message or asked me a question, that has          14   what you are asking me was if anyone came to
15   happened.                                           15   the house to give him a massage that I had
16       Q. Have you ever received a massage             16   not had a massage from myself?
17   when Mr. Epstein was in the room other than         17       Q. It's a little different than that.
18   just to come in to give you a message or ask        18       A. Okay.
19   you a question?                                     19       Q. You've testified that you arranged
20          MR. PAGLIUCA: Object to the form             20   for some people to come to Mr. Epstein's home
21       and foundation.                                 21   to give him a massage, correct?
22       A. Not that I recall.                           22       A. Yes.
23       Q. Did you ever participate in                  23       Q. And at one point, I thought you had
24   arranging for anyone to give Mr. Epstein a          24   testified that before you arranged to have
25   massage?                                            25   people come to give Mr. Epstein a massage,
                                               Page 35                                                Page 37
 1        G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2       A. Part of my duties and my job -- can           2   you had -- you didn't use the word tested
 3   you repeat the question so I understand, and         3   them out, but that you had previously gotten
 4   I give you the right answer exactly.                 4   them to give you a massage so that you could
 5       Q. Did you ever participate in                   5   see how good they were, is that fair to say?
 6   arranging for anyone to give Mr. Epstein a           6      A. If I thought they were -- if I
 7   massage?                                             7   thought it was a good massage, yes, that is
 8       A. Part of my professional                       8   my testimony.
 9   responsibilities, I did, and I've testified          9      Q. What I had thought, and what I'm
10   previously, go to spas and other professional       10   now asking you is that everyone who you
11   areas and received massages from people in          11   arranged to come to Mr. Epstein's home to
12   these places, and if I felt that person was         12   give him a massage was somebody who you had
13   good or I had had a good massage, I had asked       13   already had a massage from, is that fair?
14   if they do home visits.                             14      A. Typically, yes, but that wasn't
15          In that capacity, I had, people did          15   exclusively. So I know that friends of mine,
16   come to the house in that capacity, that I          16   for instance, would have a masseuse or
17   thought were good.                                  17   masseur that they thought was very good, and
18       Q. Did you ever arrange for anyone to           18   they said this is a very good person.
19   give Mr. Epstein a massage or to come to his        19          So it is possible, and I'm pretty
20   home to give him a massage, other than              20   sure sometimes on recommendations of other
21   someone who had previously given you a              21   people, that without me having a massage from
22   massage?                                            22   them, that they may have come to the house.
23       A. Sorry, can you repeat the question?          23   So I could not testify that every single
24       Q. Did you ever arrange for anyone to           24   person that came to the house I received a
25   give Mr. Epstein a massage or to come to his        25   massage from, because that would not be true.




                                                                                10 (Pages 34 to 37)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 12 of 73
                                               Confidential
                                               Page 38                                                 Page 40
 1        G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2       Q. Was every person who you arranged             2       A. I know what the allegations are,
 3   to come to Mr. Epstein's house to give a             3   and I am aware of those, but as to my actual
 4   massage someone who either you had already           4   knowledge of somebody under the age of 21, I
 5   had a massage from or you had a friend who           5   can't say that I know, I can't think of
 6   recommended them as a good professional              6   anybody. I know Virginia has obviously made
 7   masseuse?                                            7   those claims and she was 17 when he met her,
 8           MR. PAGLIUCA: Object to the form             8   but other than her, I cannot think of
 9       and foundation.                                  9   anybody.
10       A. Typically, that is how that would            10       Q. Insofar as you are aware, did
11   work.                                               11   Virginia ever give Mr. Epstein a massage?
12       Q. Was there ever anyone who you                12       A. I know she said she did and I
13   arranged to come to Mr. Epstein's house to          13   believe she may have, but I don't ever see
14   give him a massage, someone who you had not         14   her giving him a massage, so I can't say.
15   previously gotten a massage from yourself or        15       Q. Leaving aside any information that
16   received a recommendation from one of your          16   you have that has come from Virginia in the
17   friends that it was a good professional             17   last decade?
18   masseuse?                                           18       A. Right.
19           MR. PAGLIUCA: Object to the form            19       Q. Going back to the time when
20       and foundation.                                 20   Virginia was less than 21, at that period of
21       A. I cannot think of anyone that would          21   time, did you believe that Virginia was
22   fit that category.                                  22   giving Mr. Epstein massages?
23       Q. You made a point in a previous               23       A. I do think she was giving him
24   answer of referring to people as adult              24   massages.
25   masseuses. Do you recall that?                      25       Q. Is it your testimony that the only
                                               Page 39                                                 Page 41
 1        G. Maxwell - Confidential                       1        G. Maxwell - Confidential
 2       A. I do.                                         2   female that you had any reason to believe was
 3       Q. When you refer to someone as an               3   under 21 who was giving Mr. Epstein massages
 4   adult masseuse, what are you referring to?           4   was Virginia?
 5       A. I think everybody in this room is             5          MR. PAGLIUCA: Object to the form
 6   an adult.                                            6       and foundation.
 7       Q. I don't necessarily disagree with             7       A. First of all, I didn't know how old
 8   that, but what I'm asking you, since I can't         8   Virginia was, so other than Virginia, so I
 9   carry all these people with me every time            9   can't say, but other than -- I was not aware
10   somebody reads this transcript, is what do          10   of anybody else, no.
11   you mean by an adult?                               11       Q. You first met Virginia when?
12       A. Well, I think an adult is somebody           12       A. I don't know.
13   who looks older and professional and is             13       Q. Approximately?
14   someone who has lived some life and looks           14       A. I believe it was in 2000, but now
15   like any one of us in this room do, some a          15   I'm going off the knowledge that I have, not
16   little older and some a little younger.             16   from memory, so I met her the end of 2000
17       Q. You are aware that there are                 17   apparently.
18   assertions that Mr. Epstein had massages from       18       Q. And when you met Virginia in 2000,
19   females under the age of 21?                        19   how old did you think she was?
20       A. I am aware of that.                          20          MR. PAGLIUCA: Object to the form
21       Q. Insofar as you are aware, did                21       and foundation.
22   Mr. Epstein ever have a massage from anyone         22       A. I didn't think about how old she
23   under the age of 21?                                23   was. I don't recall the actual meeting of
24           MR. PAGLIUCA: Object to the form            24   Virginia, so I can't say, but I think she was
25       and foundation.                                 25   at least, I thought she was a professional




                                                                                11 (Pages 38 to 41)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 13 of 73
                                              Confidential
                                              Page 42                                                  Page 44
 1       G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2   masseuse as far as I can recall today, so           2   thought. I really don't recall her, so it's
 3   that would have made her, I thought that            3   hard for me to testify what I thought about
 4   would have made her, to work in a spa, I            4   her age at the time.
 5   didn't think about, and I, I thought she            5      Q. Was Virginia, in the period of
 6   appeared to be a professional masseuse.             6   around 2000, the youngest person that, as you
 7      Q. Remember questions a while ago                7   understood it, was giving Mr. Epstein
 8   where you made a big point about people being       8   massages?
 9   adult masseuses?                                    9          MR. PAGLIUCA: Object to the form
10      A. Right, yeah.                                 10      and foundation.
11      Q. When you met Virginia for the first          11      A. Again, I can't testify to her age,
12   time --                                            12   but everybody else that I can recall seemed
13      A. Right.                                       13   to be again, like I would say, adults.
14      Q. -- did you think she was an adult            14      Q. You didn't think Virginia was an
15   masseuse, as you use that term?                    15   adult, did you?
16      A. I don't recall actually meeting              16          MR. PAGLIUCA: Object to the form
17   Virginia at the time, and in fact, were it         17      and foundation.
18   not for this case, I'm not sure I would            18      A. Like I said, I don't recall her. I
19   recall her at all.                                 19   don't recall thinking about -- my memory is
20      Q. But you do recall knowing Virginia?          20   of adults giving Jeffrey massages, and as I
21      A. I do, yes.                                   21   don't really remember Virginia around that
22      Q. You do recall knowing that Virginia          22   time, I don't know what I think.
23   was giving Mr. Epstein massages, correct?          23      Q. You do remember Virginia, about
24          MR. PAGLIUCA: Object to the form            24   that time back in the 2000s, giving
25      and foundation.                                 25   Mr. Epstein massages?
                                              Page 43                                                  Page 45
 1       G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2      A. I believe she was, but I can't say            2          MR. PAGLIUCA: Object to the form
 3   for sure.                                           3      and foundation.
 4      Q. Why do you believe Virginia was               4      A. I barely remember her at all.
 5   giving Mr. Epstein massages?                        5      Q. Whether you barely remember her or
 6      A. Today, because -- but back then.              6   not, you do remember that back in the period
 7      Q. Back then?                                    7   around 2000, Virginia was giving Mr. Epstein
 8      A. Because at some point she would               8   massages, right?
 9   have been going to the massage room to give         9          MR. PAGLIUCA: Objection to form
10   massages.                                          10      and foundation.
11      Q. Back then, in the period around              11      A. Only in the most general terms. It
12   2000?                                              12   would be somebody who would give him a
13      A. Right.                                       13   massage, and that's it.
14      Q. You believed that Virginia was               14      Q. During the period of time back in
15   giving Mr. Epstein massages, correct?              15   the period around 2000, when you knew that
16      A. I believe I did, yes.                        16   Virginia was somebody who would give
17      Q. At the time back in the period               17   Mr. Epstein a massage, was she somebody who
18   around 2000 that you believe that Virginia         18   you considered an adult?
19   was giving Mr. Epstein massages, how old did       19          MR. PAGLIUCA: Objection to form
20   you think Virginia was at the time?                20      and foundation.
21          MR. PAGLIUCA: Object to the form            21      A. I didn't consider her at all
22      and foundation.                                 22   because she is not somebody that I really
23      A. I don't believe that I -- I don't            23   interacted with.
24   know what I thought at the time. It's a long       24      Q. It is your testimony that Virginia
25   time ago and I just have no idea what I            25   was not somebody that you interacted with, is




                                                                                12 (Pages 42 to 45)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 14 of 73
                                                Confidential
                                                Page 46                                              Page 48
 1         G. Maxwell - Confidential                       1    G. Maxwell - Confidential
 2   that what you're saying?                              2       MR. PAGLIUCA: We've been going for
 3        A. I said I didn't really interact --            3   about an hour this morning. I think
 4   it's not that I didn't interact with her at           4   you're probably aware that Ms. Maxwell
 5   all, but not enough for her to make a very            5   was deposed for a full seven hours on a
 6   strong and lasting impression.                        6   prior occasion. In my view, the court's
 7        Q. Is it your testimony that you                 7   order is limited and we shouldn't be
 8   interacted with Virginia, but you didn't              8   covering ground that we covered in the
 9   really interact with Virginia?                        9   prior deposition.
10           MR. PAGLIUCA: Objection to form              10       At some point, we are going to need
11        and foundation.                                 11   to call the court, if we go at this
12        A. I don't understand what that                 12   pace, for instruction about length of
13   actually even means.                                 13   time here, because my view is that this
14        Q. You said that you interacted with            14   is not supposed to be a seven-hour
15   Virginia. Do you recall that?                        15   deposition, you are not supposed to be
16        A. In the most general terms, I do              16   covering old ground, and you should be
17   recall her.                                          17   asking questions related to the, what I
18        Q. And then you testified that you              18   characterize as the eight discreet areas
19   didn't really interact with Virginia. Do you         19   related to a, quote, sexual activity
20   recall saying that?                                  20   which precedes all of the eight items in
21        A. I consider this a real interaction.          21   the court's order of July 10th.
22   I will not be forgetting this any time soon.         22       We spent a lot of time not talking
23   But the most casual of relationships, where          23   about those issues, and I suggest we get
24   you say hello or to be nice or polite, or            24   to it or we get the court on the phone
25   offer someone a glass of water or something          25   for some guidance about timing here.
                                                Page 47                                              Page 49
 1        G. Maxwell - Confidential                        1    G. Maxwell - Confidential
 2   is what I would term a casual interaction.            2       MR. BOIES: I'm happy to get the
 3   It is not something that, from what are we            3   court on the phone any time you like. I
 4   talking, 17, 18 years ago, something that             4   think the questions clearly relate to
 5   really sticks out in my mind.                         5   sexual activity.
 6       Q. Is it your testimony that your only            6       MR. PAGLIUCA: How old Virginia
 7   relationship with Virginia was what you               7   Roberts was or not does not relate to
 8   referred to as a casual relationship where            8   sexual activity. Her memory of how old
 9   you might say hello or offer a glass of water         9   Virginia Roberts may or may not have
10   to be polite?                                        10   been does not relate to sexual activity,
11          MR. PAGLIUCA: Objection to form               11   and it was all asked and answered in the
12       and foundation.                                  12   prior deposition.
13       A. Generally, yes, that's how I would            13       MR. BOIES: Your witness introduced
14   characterize.                                        14   the subject, asserting that all of these
15          MR. PAGLIUCA: We've been going for            15   people were adults. I didn't ask
16       about an hour. I would like to take a            16   whether they were adults at that time.
17       break.                                           17   I simply asked a general question that
18          MR. BOIES: Certainly.                         18   was expressly covered by the judge's
19          THE VIDEOGRAPHER: The time is                 19   order. Your client opened the door,
20       10:01 a.m., and we are going off the             20   volunteered this and made it necessary
21       record.                                          21   to do this.
22          (Recess.)                                     22       I am happy to go to the court any
23          THE VIDEOGRAPHER: The time is                 23   time you want, and I'm happy to go over
24       10:10 a.m., and we are back on the               24   with the court some of these questions
25       record. This also begins DVD No. 2.              25   and put it in context for the court with




                                                                               13 (Pages 46 to 49)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 15 of 73
                                               Confidential
                                               Page 50                                                Page 52
 1       G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2      respect to what the documentary evidence          2         MR. PAGLIUCA: Don't answer that
 3      is. I'm happy to do that any time you             3      question.
 4      want.                                             4      Q. Did you have conversations with
 5          MR. PAGLIUCA: Let's get on with it            5   anyone other than your lawyer during the
 6      and ask some questions that are relevant          6   break?
 7      to what the court ordered here.                   7      A. No.
 8          MR. BOIES: I am asking questions              8      Q. Did your lawyer tell you why he had
 9      that I think are clearly relevant. If             9   taken a break?
10      you don't think so, I invite you to take         10         MR. PAGLIUCA: Don't answer that
11      it to the court. If not, then let me             11      question.
12      get on with my questions. Any time that          12         I don't think I did, by the way.
13      I get to a point where you think you             13         MR. BOIES: I'm happy to depose you
14      want to stop the deposition and go to            14      about it, if you want.
15      the court, I am more than prepared to do         15         MR. PAGLIUCA: Sure.
16      that.                                            16         MR. BOIES: I'm serious about that.
17   BY MR. BOIES:                                       17      I'm happy to put you under oath right
18      Q. Ms. Maxwell, during the break, did            18      now, and if you want to start talking
19   you have conversations with anyone?                 19      about what you did or did not do, I'm
20      A. My lawyers.                                   20      happy to interrupt this deposition, put
21      Q. What did your lawyers say to you?             21      you under oath and let you testify.
22          MR. PAGLIUCA: Don't answer that              22         MR. PAGLIUCA: Ask a question.
23      question.                                        23         MR. BOIES: I'm telling you.
24      Q. What did you say to your lawyer?              24      Otherwise, I suggest you stop making
25          MR. PAGLIUCA: Don't answer that              25      speeches.
                                               Page 51                                                Page 53
 1       G. Maxwell - Confidential                        1      G. Maxwell - Confidential
 2      question.                                         2        MR. PAGLIUCA: Why don't we both
 3      Q. Did you ask your lawyer for any                3     stop making speeches.
 4   legal advice?                                        4   BY MR. BOIES:
 5          MR. PAGLIUCA: Don't answer that               5
 6      question.
 7      Q. Did your lawyer give you any legal
 8   advice?
 9          MR. PAGLIUCA: Don't answer that
10      question.
11          MR. BOIES: These are all yes or no
12      questions.
13          MR. PAGLIUCA: She is not answering
14      any of those questions, Mr. Boies.
15      Q. Did your lawyer give you advice as
16   to how to answer the questions I was asking?
17          MR. PAGLIUCA: Don't answer that
18      question.
19      Q. Did your lawyer tell you that you
20   were creating problems for yourself with some
21   of your answers?
22          MR. PAGLIUCA: Don't answer that
23      question.
24      Q. Did your lawyer suggest how you
25   might answer some of my questions?




                                                                                14 (Pages 50 to 53)
        Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 16 of 73
                                           Confidential
                                            Page 54                                         Page 56
1      G. Maxwell - Confidential                       1   G. Maxwell - Confidential
2                                                      2




                                       .
                                            Page 55                                         Page 57
1      G. Maxwell - Confidential                       1    G. Maxwell - Confidential
2   Epstein's home in Palm Beach?                      2      MR. PAGLIUCA: Objection to form
3         MR. PAGLIUCA: Objection to form              3   and foundation.
4     and foundation.                                  4   A.
5


                                                       8      MR. PAGLIUCA: Objection to form
                                                       9   and foundation.
                                                      10   A.




                                                                          15 (Pages 54 to 57)
       Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 17 of 73
                                      Confidential
                                          Page 58                                   Page 60
 1   G. Maxwell - Confidential                      1   G. Maxwell - Confidential
 2                                                  2




21      MR. PAGLIUCA: Objection to form
22   and foundation.
23


                                          Page 59                                   Page 61
 1   G. Maxwell - Confidential                      1   G. Maxwell - Confidential
 2                                                  2




                                                                       16 (Pages 58 to 61)
     Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 18 of 73
                                Confidential
                                Page 62                                                  Page 64
1   G. Maxwell - Confidential              1       G. Maxwell - Confidential
2                                          2      Q. You were aware of how many people
                                           3   gave Mr. Epstein massages?
                                           4         MR. PAGLIUCA: Objection to form
                                           5      and foundation.
                                           6      A. I was not with him actually very
                                           7   often. I was frequently -- we were
                                           8   frequently not together, so I couldn't know
                                           9   what he would be doing when I wasn't with
                                          10   him.
                                          11         But when we were together, the
                                          12   behavior as described as alleged did not
                                          13   happen, so he would have one massage a day,
                                          14   that would be it.
                                          15      Q. So insofar as you were aware and
                                          16   when you were with Mr. Epstein, he only had
                                          17   one massage a day?
                                          18      A. Yeah.
                                          19      Q. Other than Virginia Roberts, as you
                                          20   understood it at the time, were any of the
                                          21   people that gave Mr. Epstein massages women
                                          22   who were under 21?
                                          23         MR. PAGLIUCA: Objection to form
                                          24      and foundation.
                                          25      A. I don't know what the ages were of
                                Page 63                                                  Page 65
1   G. Maxwell - Confidential              1       G. Maxwell - Confidential
2                                          2   the people who were giving him massages, but
                                           3   I believe they were professional masseuses.
                                           4      Q. I think you testified that you
                                           5   believe that Virginia Roberts was a
                                           6   professional masseuse, is that correct?
                                           7          MR. PAGLIUCA: Objection to form
                                           8      and foundation.
                                           9      A. Based on how allegedly we met,
                                          10   which was at a spa, I believe that when you
                                          11   work at a spa, you are a professional. So
                                          12   I'm basing my statement based on her working
                                          13   as a professional massage person, at a
                                          14   professional spa.
                                          15      Q. When you met Ms. Roberts at the
                                          16   spa, what spa was it?
                                          17          MR. PAGLIUCA: Objection to form
                                          18      and foundation.
                                          19      A. I don't recall the actual meeting,
                                          20   but based on all the evidence and stories, it
                                          21   was at Mar-a-Lago.
                                          22      Q. You just testified that you met
                                          23   Virginia Roberts at a spa. Do you recall
                                          24   that?
                                          25          MR. PAGLIUCA: Objection to form




                                                                  17 (Pages 62 to 65)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 19 of 73
                                               Confidential
                                               Page 66                                                  Page 68
 1       G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2      and foundation.                                   2   conversations with Virginia. Like I said, I
 3      A. I said I don't recall the actual               3   would actually barely remember her at all
 4   meeting, but based on the evidence that we           4   were it not for this case.
 5   have been produced, and I now believe it was         5      Q. Why, then, do you believe she was a
 6   at Mar-a-Lago that that meeting may have             6   masseuse at Mar-a-Lago?
 7   taken place.                                         7      A. Based on having met her at
 8      Q. When you met Virginia Roberts, did             8   Mar-a-Lago. I don't know why else she would
 9   you understand that she was at that time a           9   be at the house.
10   professional masseuse?                              10      Q. At what house?
11         MR. PAGLIUCA: Objection to form               11      A. Why would she come to Jeffrey's
12      and foundation.                                  12   house if she was not a masseuse at
13      A. I don't recall the actual first               13   Mar-a-Lago, why else would she come.
14   meeting, I don't know.                              14      Q. Did you ask her to come to
15      Q. Whether or not you recall the                 15   Jeffrey's house?
16   actual first meeting, was it your                   16      A. I don't recall the first meeting or
17   understanding that Virginia Roberts was a           17   how it went down that she came to give
18   professional masseuse?                              18   Jeffrey a massage or whatever she came to do.
19         MR. PAGLIUCA: Objection to form               19   All I remember as I testified in my first
20      and foundation.                                  20   deposition is that her mother came and that
21      A. I had no idea at the time, but I              21   we sat outside and I talked to her mother,
22   believe she was working at a spa, and based         22   and that she went in and met Jeffrey and then
23   on what I believe today, she was a masseuse         23   she left. And then subsequent to that, I
24   at Mar-a-Lago.                                      24   understand she gave him massages.
25      Q. When you say based on what you                25      Q. My question was a simple yes or no
                                               Page 67                                                  Page 69
 1        G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2   believe today, you believe she was a masseuse        2   question. Did you ask her to come to
 3   at Mar-a-Lago, what is it that you've learned        3   Jeffrey's house?
 4   that leads you to believe she was a masseuse         4       A. I can't recall exactly the meeting.
 5   at Mar-a-Lago?                                       5       Q. In response, I got a paragraph that
 6       A. She worked at the spa, and that's             6   makes a number of assertions that I'm now
 7   all I know, that she was 17 and that she held        7   going to have to follow-up. I'm prepared to
 8   herself out to be a masseuse.                        8   do that, but in light of your counsel's
 9       Q. She told you she was a masseuse?              9   desire to move the deposition along, I won't
10       A. I don't know if she told me at the           10   have to follow-up things that you volunteer
11   time she was a masseuse. I believe today she        11   if you don't volunteer them.
12   was a masseuse working at Mar-a-Lago and she        12          So if you will focus on my
13   was 17 years old.                                   13   question, and if it is simply a yes or no
14       Q. You said she held herself out as a           14   answer and you give a yes or no answer, that
15   masseuse. Do you recall that?                       15   will shorten the deposition. If you want to
16       A. I just said it. The problem is I             16   say other things, I'm not going to try to
17   don't recall with specificity. I don't              17   stop you, but I am going to follow-up on what
18   recall the actual meeting, so events in my          18   you say.
19   mind are conflated with all of her stories,         19          My question now is simply, do you
20   all of the lies that have been told.                20   recall, one way or the other, as you sit here
21           So, today, I believe that she was a         21   now, whether you asked Virginia Roberts to
22   17-year-old masseuse at Mar-a-Lago.                 22   come to Mr. Epstein's house?
23       Q. Did she ever tell you that she was           23       A. I do not.
24   a masseuse at Mar-a-Lago?                           24       Q. Do you recall, as you sit here now,
25       A. I don't recall specific                      25   one way or another, whether Virginia Roberts




                                                                                 18 (Pages 66 to 69)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 20 of 73
                                               Confidential
                                               Page 70                                                 Page 72
 1        G. Maxwell - Confidential                       1        G. Maxwell - Confidential
 2   was a masseuse, a towel girl, a maintenance          2       covered extensively.
 3   person or any other type employee at                 3          MR. BOIES: I understand what the
 4   Mar-a-Lago?                                          4       prior deposition --
 5       A. I do not.                                     5       A. Other than friends of my family and
 6       Q. Did Mr. Epstein ever ask you to               6   friends of other people's people, and the
 7   attempt to obtain or secure people to give           7   people that I've identified, I am aware that
 8   him massages that were not professional              8   Jeffrey had friends that came over that
 9   masseuses?                                           9   brought their kids with them from time to
10       A. No.                                          10   time.
11       Q. Do you remember somebody by the              11       Q. These kids that you refer to, they
12   name of                                             12   didn't give Mr. Epstein massages, did they?
13       A. I don't believe I ever met him.              13          MR. PAGLIUCA: Mr. Boies, this has
14       Q. You don't believe you ever met him?          14       been asked and answered already.
15       A. No.                                          15          MR. BOIES: I don't think that
16       Q. Do you remember anyone other than            16       particular question was asked and
17   yourself who secured or obtained people to          17       answered, but whether it was asked and
18   give Mr. Epstein massages?                          18       answered or not, you can instruct not to
19          MR. PAGLIUCA: Objection to form              19       answer and then we will move on. I
20       and foundation.                                 20       think we take much more time with your
21       A. Can you ask the question again,              21       interjections than we would if you
22   please?                                             22       simply let the witness answer the
23       Q. Do you remember anyone other than            23       question.
24   yourself who secured or obtained people to          24          MR. PAGLIUCA: Well, we do, but
25   give Mr. Epstein massages?                          25       then we go down this road where you keep
                                               Page 71                                                 Page 73
 1        G. Maxwell - Confidential                       1        G. Maxwell - Confidential
 2          MR. PAGLIUCA: Objection to form               2       asking these questions that have already
 3       and foundation.                                  3       been asked and answered.
 4       A. I believe Jeffrey did get massages            4          So the witness can answer the
 5   from other people who were recommendations           5       question, but let's stick to the topic
 6   from other people for massages that had              6       here.
 7   nothing to do with me.                               7          MR. BOIES: If you want to instruct
 8       Q. Do you know who?                              8       her not to answer, instruct her not to
 9       A. I only know what I read. Virginia             9       answer. You are not going to convince
10   gave people.                                        10       me with speeches.
11       Q. Other than what Virginia had said            11       A. What is the question, please?
12   in the last 10 years, were you aware of             12       Q. You referred to friends of
13   anyone who was obtaining people to give             13   Mr. Epstein bringing their kids with them
14   Mr. Epstein massages other than yourself?           14   when they came over?
15       A. I'm not -- I don't know what other           15       A. Yes.
16   people do. I know that other people                 16       Q. Those kids, as you described, did
17   recommended massages to him, but I can't            17   not give Mr. Epstein massages, correct?
18   testify to what other people do for him or          18       A. I don't believe so.
19   did for him.                                        19       Q. Limiting the people that we're
20       Q. Back in the 1990s and the 2000s,             20   talking about just to people who gave
21   did you see women under the age of 21 at            21   Mr. Epstein massages or who were brought to
22   Mr. Epstein's houses?                               22   the home to give Mr. Epstein massages, were
23          MR. PAGLIUCA: This has been asked            23   there people other than you who were
24       and answered in her prior deposition.           24   responsible for bringing those people to Mr.
25       Do you understand that? It's been               25   Epstein's house?




                                                                                 19 (Pages 70 to 73)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 21 of 73
                                              Confidential
                                               Page 74                                                 Page 76
 1      G. Maxwell - Confidential                         1       G. Maxwell - Confidential
 2        MR. PAGLIUCA: Objection to form                 2      Q. Where did she go to massage school?
 3     and foundation.                                    3      A. I don't know.
 4     A. I have no idea.                                 4      Q. When did she go to massage school?
 5                                                        5      A. I don't know.
                                                          6      Q. Did she tell you she went to
                                                          7   massage school?
                                                          8      A. I don't recall.
                                                          9      Q. Did someone else tell you she went
                                                         10   to massage school?
                                                         11      A. I don't recall. It's my belief she
12      Q. Did          ever give Mr. Epstein a          12   went to massage school and became a
13   massage?                                            13   professional masseuse at some point.
14      A. I believe she did.                            14      Q. What is your belief based on?
15      Q. Did she ever give you a massage?              15      A. I don't know why, it's just
16      A. She did.                                      16   something, I must have had a conversation
17      Q. Was she what you referred to as a             17   with her, I think, about it, but I don't
18   professional masseuse?                              18   recall specifically the conversation. Just
19      A. I would.                                      19   in general terms, that's what I believe.
20      Q. Had she ever worked in a spa?                 20      Q. Is it your testimony that she told
21      A. I don't know if she worked in a               21   you in general terms in a conversation that
22   spa.                                                22   she had gone to massage school?
23      Q. Had she ever, prior to giving you             23      A. I don't recall a specific
24   and Mr. Epstein massages, had she ever given        24   conversation, but that is my general
25   massages to other people?                           25   impression.
                                               Page 75                                                 Page 77
 1       G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2          MR. PAGLIUCA: Objection to form               2      Q. Do you know how long she was in
 3      and foundation.                                   3   massage school?
 4      A. I have no idea, I don't know.                  4      A. I don't.
 5      Q. Prior to the time that        gave             5      Q. Did Mr. Epstein ask her to go to
 6   you and Mr. Epstein massages, had she been a         6   massage school?
 7   professional masseuse?                               7      A. I don't know.
 8          MR. PAGLIUCA: Objection to form               8      Q. How old was              when she gave
 9      and foundation.                                   9   you a massage?
10      A. I believe she went to massage                 10      A. Mid 20s, I believe.
11   school and became a professional masseuse.          11      Q. And was the timeframe in which she
12      Q. Did she go to massage school before           12   gave Mr. Epstein a massage the same timeframe
13   or after you met her?                               13   she gave you a massage?
14      A. I believe after.                              14      A. I really don't recall. I can only
15      Q. Who paid for her massage school?              15   recall her giving me massages. I know she
16      A. I have no idea.                               16   gave Mr. Epstein massages, but I don't recall
17      Q. Who arranged for her to go to                 17   them. I know she gave me them, I know she
18   massage school?                                     18   gave me massages.
19      A. I have no idea.                               19      Q. How old was she when she gave
20      Q. Did she ever give Mr. Epstein a               20   Mr. Epstein massages?
21   massage before she went to massage school?          21      A. I met her, I believe, when she was
22      A. I have no idea.                               22   in her mid 20.s, it would have been in her
23      Q. Did she ever give you a massage               23   mid 20s.
24   before she went to massage school?                  24      Q. Did Mr. Epstein, insofar as you
25      A. I have no idea.                               25   believe, engage in sexual activities with




                                                                                 20 (Pages 74 to 77)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 22 of 73
                                                 Confidential
                                                 Page 78                                                  Page 80
 1      G. Maxwell - Confidential                           1       G. Maxwell - Confidential
 2                                                          2      instructed that the right way to do it
 3      A. I would not know. I would say no.                3      was to bring any issue to him after the
 4      Q. Did you engage in sexual activities              4      conclusion of the deposition.
 5   with                                                   5          The question that has been raised
 6      A. No.                                              6      is whether we should interrupt the
 7      Q. Do you know how             came to              7      deposition now and seek guidance of the
 8   know Mr. Epstein?                                      8      court before continuing the deposition.
 9      A. I met her at her university                      9          My view is that the deposition
10                                                         10      needs to continue, and the counsel for
                                                           11      the defendant can instruct not to answer
                                                           12      and any questions that are instructed
13     A. In Palm Beach.                                   13      not to answer can be brought to the
14     Q. At Mr. Epstein's home in Palm                    14      court, but I would not consent to
15   Beach?                                                15      terminating the deposition at this
16     A. Yes.                                             16      point.
17     Q. So is it fair to say that                        17          MR. PAGLIUCA: I don't know if it's
                                                           18      a matter of consent or not. If I move
                                                           19      for a protective order, the deposition
20         MR. PAGLIUCA: This has already                  20      is over and we can go litigate it in
21     been testified to Mr. Boies. We are                 21      front of Judge Sweet. We are here and
22     repeating testimony now.                            22      I'd like to complete this deposition
23         MR. BOIES: I think in the context               23      because this case needs to move along,
24     of the witness' answers, these are fair             24      and quite frankly, I don't want to spend
25     questions.                                          25      money coming back here to do this again
                                                 Page 79                                                  Page 81
 1      G. Maxwell - Confidential                           1        G. Maxwell - Confidential
 2         Now, I've asked you before, if you               2      or argue this in front of Judge Sweet.
 3     want to instruct her not to answer, if               3          But I will simply start referring
 4     you want to go to the judge, we are                  4      you back to the transcript and
 5     happy to do that, but I would suggest,               5      instructing the witness not to answer
 6     in the interest of moving it along, that             6      when I think we are getting into some
 7     you stop these speeches.                             7      things that have been asked and answered
 8         MR. PAGLIUCA: You are not moving                 8      already.
 9     it along is the problem, so maybe we                 9          MR. BOIES: Exactly the procedure
10     should call the court and get some                  10      that I have proposed from the beginning.
11     direction here, because I am not going              11      If you think a question is out of
12     to sit here and rehash the testimony we             12      bounds, instruct not to answer and we
13     already gave.                                       13      will then let the judge decide it.
14         MR. BOIES: That's fine.                         14   BY MR. BOIES:
15         THE VIDEOGRAPHER: The time is                   15      Q. How did it happen, Ms. Maxwell,
16     10:51 a.m. and we are going off the                 16   that
17     record.                                             17              , ended up giving massages to you
18         (Whereupon, an off-the-record                   18   and Mr. Epstein?
19     discussion was held.)                               19          MR. PAGLIUCA: I'm going to
20         THE VIDEOGRAPHER: The time is                   20      instruct you not to answer the question.
21     10:56 a.m. and we are going back on the             21      This has been previously, the subject of
22     record. This begins DVD No. 3.                      22      your former deposition, it doesn't fall
23         MR. BOIES: We have just had a call              23      into any of the categories ordered by
24     with Judge Sweet's chambers, Judge Sweet            24      the court, and so you don't need to
25     is not available and his chambers                   25      answer that.




                                                                                   21 (Pages 78 to 81)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 23 of 73
                                                  Confidential
                                                      Page 82                                                Page 84
 1       G. Maxwell - Confidential                               1      G. Maxwell - Confidential
 2      Q. Was              paid for the massages                2     something the judge can decide, but a
 3   that she gave you?                                          3     question as to how much this young girl
 4      A. I didn't pay her, so I believe she                    4     was being paid for a "massage", I think
 5   was paid.                                                   5     goes directly to the issue of sexual
 6      Q. Who paid her?                                         6     activity.
 7      A. I don't know who paid her.                            7         MR. PAGLIUCA: Here is the problem,
 8          MR. PAGLIUCA: Again, you've                          8     Mr. Boies, at the first deposition,
 9      already answered that there was no                       9     there were very limited instructions not
10      sexual activity between yourself and                    10     to answer and the witness was not told
11      Mr. Epstein related to these massages.                  11     not to answer questions about how much
12      That's record testimony today. That's                   12     people were paid or not paid or any of
13      within the scope of the court's order.                  13     those subject matters. The witness was
14      The rest of this is outside the scope of                14     only instructed not to answer about
15      the court's order, and I instruct you                   15     sexual activity concerning adults in the
16      not to answer.                                          16     home.
17          MR. BOIES: You are taking the                       17         None of this came up during the
18      position that as long as she said says                  18     deposition, and you just don't get a
19      that a massage did not involve sexual                   19     chance to redo the deposition because
20      activity, we cannot ask about massages.                 20     you feel like you want to.
21      That's your view?                                       21         So the judge's order is in the
22          MR. PAGLIUCA: On this particular                    22     context of the instructions to the
23      questioning, yes.                                       23     witness not to answer in the first
24   BY MR. BOIES:                                              24     deposition, which is simply sexual
25      Q. Did Mr. Epstein pay              for the             25     activity involving adults, which was the
                                                      Page 83                                                Page 85
 1       G. Maxwell - Confidential                               1      G. Maxwell - Confidential
 2   massages that she gave Mr. Epstein?                         2     only area that the witness was precluded
 3         MR. PAGLIUCA: You just asked this                     3     from talking about in the first
 4      question, and I told her not to answer.                  4     deposition. So that's where we're at.
 5      I will tell her not to answer again for                  5        MR. BOIES: I think that directly
 6      the same reasons.                                        6     misreads the judge's order, including
 7      Q. Do you know how much Mr. Epstein                      7     where it says: Defendant is ordered to
 8   paid Johanna to give massages?                              8     answer questions relating to defendant's
 9         MR. PAGLIUCA: Same instruction to                     9     own sexual activity with or involving
10      the witness. Why do you believe this is                 10     Jeffrey Epstein, with or involving
11      within the scope of the court's order?                  11     plaintiff, with or involving underage
12         MR. BOIES: Because of the court's                    12     females, involving or including massage
13      reference to massages, and because I                    13     with individuals defendant knew to be or
14      think how much a girl                                   14     believed might become known to Epstein.
15                           was paid to give a                 15        MR. PAGLIUCA: All of it is
16      "massage" goes to whether there actually                16     preceded by the word sexual activity.
17      was or was not sexual activity involved.                17        MR. BOIES: I think your point of
18         MR. PAGLIUCA: The witness has                        18     view is an interesting one, but we will
19      testified there wasn't.                                 19     see what the judge rules on it.
20         MR. BOIES: Perhaps it will                           20   BY MR. BOIES:
21      surprise you, I think it should not,                    21
22      that I do not believe in my deposition I
23      need to simply accept her
24      characterization without
25      cross-examination. Now, that's




                                                                                       22 (Pages 82 to 85)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 24 of 73
                                           Confidential
                                               Page 86                                   Page 88
 1      G. Maxwell - Confidential                        1   G. Maxwell - Confidential
 2     and foundation.                                   2
 3     A.




 8        MR. PAGLIUCA: Objection to form
 9     and foundation.
10     A. I don't know.
11     Q. Did any of them give you massages?
12     A. No.
13     Q.



17          MR. PAGLIUCA: Objection to form
18       and foundation. Asked and answered.
19       A. No.
20       Q. Were they ever in the Virgin
21   Islands?
22          MR. PAGLIUCA: Objection to form
23       and foundation.
24       A. No.
25
                                               Page 87                                   Page 89
 1      G. Maxwell - Confidential                        1   G. Maxwell - Confidential
 2                                                       2




24        MR. PAGLIUCA: Objection to form
25     and foundation.




                                                                            23 (Pages 86 to 89)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 25 of 73
                                               Confidential
                                               Page 90                                    Page 92
 1      G. Maxwell - Confidential                         1   G. Maxwell - Confidential
 2                                                        2




                                               Page 91                                    Page 93
 1      G. Maxwell - Confidential                         1   G. Maxwell - Confidential
 2     it to something in the case.                       2
 3         MR. BOIES: I think it's tied, but              3
 4     if you instruct her not to answer, it
 5     goes into the --
 6         MR. PAGLIUCA: Meat grinder.
 7   BY MR. BOIES:
 8     Q.




                                               .
14      A. Can you repeat the question?
15      Q.




20         MR. PAGLIUCA: Same objection.
21      A. No.
22      Q.


                                                         25   Q. Do you know




                                                                             24 (Pages 90 to 93)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 26 of 73
                                                  Confidential
                                                    Page 94                                                       Page 96
 1      G. Maxwell - Confidential                              1      G. Maxwell - Confidential
 2                                                             2
 3      A. I do.                                               3      Q. Who was
 4          MR. BOIES: Let me show you a                       4      A.
 5      document that has been marked for                      5
 6      identification as Maxwell Deposition                   6      Q.
 7      Exhibit 27.                                            7
 8          (Maxwell Exhibit 27, Article,                      8      A. Uh-huh.
 9      marked for identification, as of this                  9      Q. Who was
10      date.)                                                10      A.
11          MR. PAGLIUCA: I'm going to need a
12      moment to review this, counsel.
13          MR. BOIES: Sure. Let me know when                 13      Q. Did you know
14      you are finished.                                     14      A. I did.
15          MR. PAGLIUCA: I will.                             15      Q. When did you first meet
16          Okay.                                             16
17   BY MR. BOIES:                                            17     A. I don't recall.
18      Q. Did you see this article prior to                  18     Q. Did you see                 at
19   the time I'm showing it to you?                          19   Mr. Epstein's house in Palm Beach?
20      A. No.                                                20     A. No, I don't think so.
21      Q. This is the first time you have                    21     Q. Where did you see
22   seen this article?                                       22     A. I believe I met her in New York at
23      A. Yes.                                               23   some point.
24      Q. When did you first meet                            24     Q. Did you see                 at
25          MR. PAGLIUCA: You are not                         25   Mr. Epstein's house in New York?
                                                    Page 95                                                       Page 97
 1       G. Maxwell - Confidential                             1       G. Maxwell - Confidential
 2      answering those questions. That has                    2      A. I don't recall meeting her there,
 3      nothing to do with what we're here for                 3   but -- I may have, but I don't recall.
 4      today. We will take that up with the                   4      Q. Did you ever meet
 5      judge, if we need to.                                  5      A. I did.
 6      Q. Let me direct your attention to a                   6      Q. Where did you meet
 7   portion of this article. Did              ever            7      A. She was in New Mexico.
 8   talk to you about women that she believed                 8      Q. At Mr. Epstein's property in New
 9   Mr. Epstein had had sex with?                             9   Mexico?
10          MR. PAGLIUCA: Don't answer that                   10      A. Yes.
11      question. We will take that up with the               11      Q. And did Mr. Epstein ever have sex
12      judge.                                                12   with
13          MR. BOIES: Okay.                                  13      A. I have no idea.
14      Q. Did                ever mention to you a           14      Q. Did Mr. Epstein ever engage in
15                                                            15   sexual activities with
16      A. She did.                                           16      A. I have no idea.
17      Q. Did              ever mention to you an            17      Q. Did Mr. Epstein ever engage in
18                                                            18   sexual activities with
19      A. She did.                                           19      A. I don't know, I don't think so.
20      Q. When did                                           20      Q. Did                  ever work for
21                                                            21   Mr. Epstein?
22      A. She called me and asked me, I don't                22      A. I don't know.
23   know if she mentioned -- I want to take that             23      Q. Did                  ever visit you at
24   back. I don't know if she mentioned                      24   your apartment?
25          . I think she just mentioned                      25      A. I don't recall her ever coming.




                                                                                       25 (Pages 94 to 97)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 27 of 73
                                                 Confidential
                                                     Page 98                                               Page 100
 1       G. Maxwell - Confidential                              1    G. Maxwell - Confidential
 2      Q. Did you ever fly on Mr. Epstein's                    2   wrote about them is somebody who talked
 3   plane with                                                 3   to this witness about it, and I think
 4      A. I don't remember.                                    4   that this is more than easily understood
 5      Q. Did you ever fly on Mr. Epstein's                    5   cross-examination.
 6   plane with                                                 6       MR. PAGLIUCA: Your question was,
 7      A. I don't think so.                                    7   do you know whether or not
 8      Q. Did                 ever give                        8
 9   Mr. Epstein a massage?                                     9        .
10      A. I don't -- I have no idea.                          10       MR. BOIES: Yes. And if you let
11      Q. Did                                                 11   her answer, you will see where it leads.
12                                                             12   If you won't let her answer, the judge
13      A. I don't recall.                                     13   is going to determine it. And I just
14      Q. What did                 tell you about             14   suggest to you that you stop these
15                 when she talked to you?                     15   speeches and stop debating, because you
16         MR. PAGLIUCA: You don't have to                     16   are not going to convince me not to
17      answer that. That has nothing to do                    17   follow-up on these questions. If you
18      with the court's order and why we are                  18   can convince the court to truncate the
19      here.                                                  19   deposition, that's your right, but all
20      Q. Did                                                 20   you're doing is dragging this deposition
21                                                             21   out.
22           had said that Mr. Epstein had engaged             22       MR. PAGLIUCA: You have the
23   in sexual activities with her?                            23   opportunity to give me a good faith
24       A. She never said that.                               24   basis why you are asking these
25       Q. Excuse me?                                         25   questions.
                                                     Page 99                                               Page 101
 1       G. Maxwell - Confidential                              1    G. Maxwell - Confidential
 2      A. I don't recall ever hearing such a                   2       MR. BOIES: I have given you a good
 3   thing.                                                     3   faith basis.
 4      Q. You know                     , correct?              4       MR. PAGLIUCA: You haven't.
 5      A. I do.                                                5       MR. BOIES: Then instruct not to
 6      Q. Do you know whether or not                           6   answer.
 7                                                              7       MR. PAGLIUCA: I am giving you the
 8                                                              8   opportunity to say why you are asking
 9         MR. PAGLIUCA: Can you tell me how                    9   the question, and why I'm telling her
10      that relates to this order, counselor?                 10   not to answer and I am entitled to know
11         MR. BOIES: Yes, I think it goes                     11   that.
12      directly to the sexual activity related                12       MR. BOIES: You are not entitled to
13      to                 and what Mr. Epstein was            13   know why I'm asking the question. You
14      doing with                                             14   are only entitled to know that it
15         Again, you can instruct not to                      15   relates to the subject matter that I am
16      answer.                                                16   entitled to inquire about, and I don't
17         MR. PAGLIUCA: I'm trying to                         17   think the judge is going to think that,
18      understand why you are asking these                    18   you know, where Mr. Epstein shipped
19      questions before I --                                  19                   off to is outside the scope
20         MR. BOIES: I'm asking these                         20   of what I'm entitled to inquire about.
21      questions because these are people who                 21       THE WITNESS: Can we take a break?
22      not only have been publicly written                    22       MR. BOIES: Only if you commit not
23      about in terms of the sexual activity                  23   to talk to your counsel during the
24      that they were put into in connection                  24   break.
25      with Mr. Epstein, but the person who                   25       THE WITNESS: That's ludicrous.




                                                                                   26 (Pages 98 to 101)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 28 of 73
                                               Confidential
                                              Page 102                                                   Page 104
 1       G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2          MR. BOIES: You want a break to                2   a mother and her daughters who came from
 3      talk to your counsel, right?                      3   Phoenix. The oldest daughter, an artist,
 4          THE WITNESS: I want to use the                4   whose character was vouchsafed to me by
 5      bathroom.                                         5   several sources, including the artist, Eric
 6          MR. BOIES: You want to talk to                6   Fischl, had told me weeping as she sat in my
 7      your counsel, right?                              7   living room, of how Epstein had attempted to
 8          THE WITNESS: I talk to my counsel             8   seduce both her and separately and her
 9      all the time.                                     9   younger sister, then only 16."
10          MR. BOIES: I don't want you                  10          Did Ms. Ward tell you that?
11      talking to your counsel while I'm in the         11       A. No.
12      middle of this examination.                      12       Q. Did Ms. Ward tell you that her
13          MR. PAGLIUCA: I'm going to talk to           13   information was that
14      her, so are we going to sit here and go          14
15      for the rest of the day until we're              15
16      done?                                            16      A. No.
17          MR. BOIES: No, but I'm going to go           17      Q. Did you and Mr. Epstein visit
18      through the rest of this line of                 18
19      questioning, unless you take her and             19      A. I don't know I would characterize
20      walk out and then, I'm going to protest          20   the word visit with Mr. Epstein. We went for
21      that to the judge.                               21   business in Ohio because
22          MR. PAGLIUCA: He is refusing a               22               , and I accompanied him on a few
23      bathroom break to you right now.                 23   visits.
24          MR. BOIES: No, I'm not. I'm happy            24      Q. Did you and Mr. Epstein go to Ohio,
25      to have her take a bathroom break as             25   and while you were in Ohio, see
                                              Page 103                                                   Page 105
 1       G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2      long as she doesn't use it as an excuse           2      A. I believe actually that she was --
 3      to get coached by her lawyer.                     3   stayed at his house there, so I would have
 4         THE WITNESS: For the record, I                 4   seen her at the house. I believe I do recall
 5      want to object strongly to that.                  5   seeing her at the house, actually.
 6         MR. PAGLIUCA: You don't talk now.              6      Q. When you say she stayed at the
 7      Do you want to go to the bathroom?                7   house, you are referring to
 8         THE WITNESS: Yes.                              8      A. Yeah, I think                   was
 9         MR. PAGLIUCA: How about if I stay              9   painting or something in Ohio, and he let her
10      here, Mr. Boies, will that work for you?         10   stay at a place that he had.
11         MR. BOIES: Absolutely.                        11      Q. When you say "he" let her stay, you
12         THE VIDEOGRAPHER: The time is                 12   are talking about
13      11:31, and we are going off the record.          13      A. No, I'm talking about Jeffrey
14         (Recess.)                                     14   Epstein.
15         THE VIDEOGRAPHER: The time is                 15      Q. So when you saw                     in
16      11:34 a.m. and we are back on the                16   Ohio, it was your understanding that she was
17      record. This also begins DVD No. 4.              17   staying at property that Mr. Epstein had in
18   BY MR. BOIES:                                       18   Ohio, is that correct?
19      Q. Let me approach it this way. If               19      A. I don't know if it was his property
20   you turn to page 5 of 7 of the exhibit that         20   or he rented it, I don't know what the nature
21   is Vicky Ward's Daily Beast article. And if         21   was. It was a property that he had that she
22   you look at the third paragraph where Ms.           22   stayed at.
23   Ward writes: What I had "on the girls" were         23      Q.                   was staying in Ohio at
24   some remarkably brave first-person accounts.        24   some property, and you don't know whose
25   Three on-the-record stories from the family,        25   property it was, is that fair?




                                                                              27 (Pages 102 to 105)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 29 of 73
                                                  Confidential
                                                  Page 106                                                   Page 108
 1        G. Maxwell - Confidential                           1       G. Maxwell - Confidential
 2       A. I don't know what -- I don't know                 2   house in Columbus, Ohio, correct?
 3   who owned -- I don't know anything about the             3      A. I don't know the arrangement that
 4   ownership of the property or how Jeffrey had             4                  had with Jeffrey. I believe she
 5   it or why he stayed there, I don't know.                 5   was painting there, but I was never aware of
 6       Q. Was it clear to you that Jeffrey                  6   the arrangement. I know that I saw her in
 7   had arranged for                  to stay at             7   Ohio at a house.
 8   wherever she was staying in Ohio?                        8      Q. When you were with                     at
 9          MR. PAGLIUCA: Objection to form                   9   this house in Columbus, Ohio, Mr. Epstein was
10       and foundation.                                     10   with you, correct?
11       A. I have no idea what the arrangement              11      A. I went to Ohio with him on
12   was between                  and Jeffrey.               12   business, and we were at a house that he
13       Q. When you referred to the property                13   could stay at and I stayed at, and I recall
14   where                 was staying, you said you         14                  being at this house. That is
15   didn't know how Jeffrey had it?                         15   what I recall.
16       A. What's your question?                            16      Q. When you went to Ohio with
17       Q. Was it your understanding that                   17   Mr. Epstein, did you see                  on more
18   Jeffrey did have that property that she was             18   than one occasion?
19   staying at in some capacity or another,                 19      A. I don't recall.
20   either owning it or leasing it or having been           20      Q. You saw                    in Ohio with
21   given it by a friend?                                   21   Mr. Epstein on at least one occasion,
22          MR. PAGLIUCA: Objection to form                  22   correct?
23       and foundation.                                     23          MR. PAGLIUCA: Objection to form
24       A. I have no idea.                                  24      and foundation.
25       Q. Where was this property that you                 25      A. I recall seeing her in Ohio, but I
                                                  Page 107                                                   Page 109
 1       G. Maxwell - Confidential                            1       G. Maxwell - Confidential
 2   and Mr. Epstein visited                   at in          2   couldn't tell you how many times I saw her.
 3   Ohio?                                                    3   For sure once, because I have a recollection
 4          MR. PAGLIUCA: Objection to form                   4   of seeing her once.
 5      and foundation.                                       5      Q. And the house in which you and
 6      A. It was in Columbus.                                6   Mr. Epstein and                 were in
 7      Q. Was it a house or an apartment?                    7   Columbus, Ohio, was that a house that you and
 8      A. It was a house.                                    8   Mr. Epstein were staying in overnight?
 9      Q. When you and Mr. Epstein visited                   9      A. I stayed overnight there.
10                   at this house in Columbus, was          10      Q. Was                   staying there
11   anyone else in the house?                               11   overnight?
12      A. I never visited                   at the          12      A. I don't recall.
13   house.                                                  13      Q. How many nights did you and
14      Q. Did you see                    in Ohio?           14   Mr. Epstein stay in this house in Columbus?
15      A. I recall seeing her, but I didn't                 15      A. I don't recall.
16   visit. I didn't go to Ohio to see                       16      Q. Was it more than one?
17           .                                               17      A. I don't recall.
18      Q. When you went to Ohio, did you see                18      Q. The night or nights that you and
19                                                           19   Mr. Epstein stayed at this house in Columbus,
20      A. I recall seeing                  in               20   was                 there?
21   Ohio.                                                   21      A. I don't recall.
22      Q. Where did you see her?                            22      Q. When you saw                     in Ohio,
23      A. I recall seeing her at this house                 23   did you talk to her?
24   that Jeffrey stayed at.                                 24      A. I'm assuming I must have said
25      Q.                   was staying in the              25   hello, so yes.




                                                                                  28 (Pages 106 to 109)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 30 of 73
                                                  Confidential
                                                 Page 110                                                 Page 112
 1        G. Maxwell - Confidential                          1      G. Maxwell - Confidential
 2       Q. Other than assuming you may have                 2   ever see
 3   said hello, did you have any conversations              3      A. I don't recall ever seeing her.
 4   with her?                                               4      Q.
 5       A. Not that I recall.                               5
 6       Q. Did                   complain to you or         6      A.
 7   Mr. Epstein about anything?                             7      Q. Did                 ever engage in any
 8          MR. PAGLIUCA: Objection to form                  8   sexual activity with Mr. Epstein?
 9       and foundation.                                     9      A. I wouldn't know. I would assume
10       A. I don't know what she would have                10   not, but I don't know.
11   done if she complained to Jeffrey about                11      Q. Do you have any reason to believe
12   anything, but she didn't complain to me, as            12   that Mr. Epstein engaged in any sexual
13   far as I recall.                                       13   activity with
14       Q. As far as you know, she didn't                  14          MR. PAGLIUCA: Objection to form
15   complain to Mr. Epstein,, is that correct?             15      and foundation.
16       A. I have no knowledge of what she did             16      A. I wouldn't know.
17   or didn't do in that regard.                           17      Q.
18       Q. Did she call the police or threaten
19   to call the police because of anything that
20   either you or Mr. Epstein did?
21          MR. PAGLIUCA: Objection to form
22       and foundation.
23       A. I never ever heard that.
24       Q.              didn't tell you, is your
25   testimony?
                                                 Page 111                                                 Page 113
 1       G. Maxwell - Confidential                           1      G. Maxwell - Confidential
 2         MR. PAGLIUCA: Objection to form                   2
 3      and foundation.
 4      A. My testimony is I never heard that,
 5   period.
 6      Q. That includes, I assume, that you
 7   never heard that from               that's your
 8   testimony?
 9         MR. PAGLIUCA: Objection to form
10      and foundation.
11      A. I think you can safely say if
12   you've never heard it at all, it would
13   encompass anybody at all. It means you never           13      Q. Did you, or to your knowledge,
14   heard it, period.                                      14   Mr. Epstein pay for                to go to
15      Q. Did you ever see                     in          15   Thailand?
16   Ohio?                                                  16          MR. PAGLIUCA: Objection to form
17      A. Not that I recall.                               17      and foundation.
18      Q. Where did you last see                           18      A. I am not aware.
19                                                          19      Q. Do you know whether
20      A. I only recall seeing her at the                  20   went to Thailand?
21   ranch.                                                 21      A. I have no knowledge of anything
22      Q. In New Mexico?                                   22   like that.
23      A. Yeah.                                            23      Q. Did you ever give anyone
24      Q. Other than seeing                at              24   instructions as to how to give a massage?
25   Mr. Epstein's place in New Mexico, did you             25          MR. PAGLIUCA: Objection to form




                                                                                 29 (Pages 110 to 113)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 31 of 73
                                               Confidential
                                              Page 114                                                Page 116
 1        G. Maxwell - Confidential                       1       G. Maxwell - Confidential
 2       and foundation.                                  2   people how to give massage. Did you do that?
 3       A. No. With a clarification, I do --             3      A. I have not done that.
 4   I have very -- how to massage feet, pressure         4      Q. Did you ever tell or show people
 5   points on a foot and pressure points on a            5   how to give Mr. Epstein a massage?
 6   hand.                                                6      A. No.
 7       Q. Is what you're saying is that you             7      Q. Did you ever tell or show people at
 8   gave people instructions as to how to massage        8   Mr. Epstein's properties how to give
 9   feet and hands?                                      9   massages?
10       A. I have never given any                       10      A. No.
11   instructions. I have shown where pressure           11      Q. Did you at any time, at any of
12   points are on a hand and on a foot, but I           12   Mr. Epstein's properties, tell or show anyone
13   have never given instructions on how to do          13   how to give massages or how Mr. Epstein liked
14   it. I have demonstrated where a pressure            14   massages?
15   point on a hand and a foot is.                      15          MR. PAGLIUCA: Objection to form
16       Q. Did you do that demonstration with           16      and foundation.
17   people who were giving or were planning to          17      A. No. I think Mr. Epstein is
18   give Mr. Epstein massages?                          18   perfectly capable --
19          MR. PAGLIUCA: Objection to form              19          MR. PAGLIUCA: There is no question
20       and foundation.                                 20      pending.
21       A. No, just in general, something               21      Q. Did Mr. Epstein, in your presence,
22   that I know how to do, so it would be just as       22   ever tell or show anyone how he liked
23   a general thing I have done.                        23   massages?
24       Q. When you talk about general thing            24      A. I don't recall.
25   you have done, is to tell people where the          25      Q. Did Mr. Epstein ever tell you how
                                              Page 115                                                Page 117
 1        G. Maxwell - Confidential                       1        G. Maxwell - Confidential
 2   pressure points are on hands and feet?               2   he liked or didn't like massages given by any
 3       A. Yes.                                          3   particular person?
 4       Q. Did you ever use that knowledge to            4       A. I can't recall.
 5   try to show someone who was giving or was            5       Q. In other words, did he ever praise
 6   planning to give Mr. Epstein a massage how to        6   to you or compliment to you some massage that
 7   do it?                                               7   he had gotten or some person who had given
 8          MR. PAGLIUCA: Objection to form               8   him a massage?
 9       and foundation. Asked and answered.              9       A. I'm sure in the course of time he
10       A. I am not aware of ever having done           10   did, but I can't recall.
11   that, but I am aware of having shown people         11       Q. Did he ever complain to you or
12   that there is a pressure point on the hand          12   criticize the massage that anyone gave him?
13   and foot. I have no specific knowledge of           13       A. Again, I don't recall.
14   who. Just in general, I have done it.               14       Q. You know
15       Q. Did you show people pressure points          15                    , correct?
16   on hands and feet in Mr. Epstein's house in         16       A. I do.
17   Palm Beach?                                         17       Q. Did Mr. Epstein, insofar as you
18       A. I don't recall with specificity              18   have any reason to believe, ever engage in
19   where. I just know I do it because it's just        19   sexual activities with her?
20   something that I happen to know, it helps           20       A. I have no knowledge.
21   people, something I know.                           21       Q. Did you ever engage in sexual
22       Q. What I'm trying to be sure that I            22   activities with
23   have your testimony on is whether at any of         23       A. No.
24   Mr. Epstein's properties, whether you call it       24       Q. Have you had any conversations with
25   instructions or not, told people or showed          25                            about Mr. Epstein's




                                                                             30 (Pages 114 to 117)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 32 of 73
                                                Confidential
                                               Page 118                                                   Page 120
 1       G. Maxwell - Confidential                         1       G. Maxwell - Confidential
 2   massages or sexual activities?                        2      at all improper. I am not making any
 3           MR. PAGLIUCA: Objection to form               3      assertions. I'm simply asking
 4      and foundation.                                    4      questions. I'm trying to find out what
 5      A. No.                                             5      the facts are.
 6      Q. When was the last time you had any              6          MR. PAGLIUCA: No, you are not.
 7   communications with                                   7          MR. BOIES: Yes, I am. You are
 8      A. A long time ago. So long, I don't               8      trying to keep the facts from coming
 9   recall.                                               9      out.
10      Q. Were you aware that                            10          MR. PAGLIUCA: No, I'm not. I'm
11            was noticed for a deposition in this        11      trying to keep this orderly and not
12   case?                                                12      abusive as to where it is going.
13      A. I believe I did know that, yes.                13          MR. BOIES: This is so far from
14      Q. Did you have any conversations with            14      abusive.
15   anyone as to whether or not                          15          MR. PAGLIUCA: I think we should
16            would or should show up for that            16      take a lunch break, given it is noon.
17   deposition?                                          17          MR. BOIES: We will do it in a half
18           MR. PAGLIUCA: Wait a minute, what            18      hour, I want to finish this line of
19      does that have to do with the court's             19      questioning. I will guarantee we are
20      order. Don't answer that question.                20      out by 12:30.
21      Just don't answer it. This is silly.              21   BY MR. BOIES:
22           MR. BOIES: I actually think it is            22      Q. Let me ask you about a few other
23      far from silly. I think it goes to an             23   people.
24      obstruction of justice situation that I           24                             , do you know her?
25      think you would be well advised to allow          25      A. I do.
                                               Page 119                                                   Page 121
 1       G. Maxwell - Confidential                         1       G. Maxwell - Confidential
 2      your client to answer the question on.             2      Q. Is she anyone with whom Mr. Epstein
 3          MR. PAGLIUCA: Do you have a good               3   had sex?
 4      faith basis to suggest that she                    4          MR. PAGLIUCA: Objection to form
 5      suggested that               not show up at        5      and foundation.
 6      her deposition yesterday?                          6      A. I have no idea.
 7          MR. BOIES: I don't know whether it             7      Q. Is she anyone with whom Mr. Epstein
 8      was you, I don't know whether it was               8   engaged in sexual activities?
 9      her, I don't know who did it. What I do            9          MR. PAGLIUCA: Objection to form
10      know is that she didn't show up, and I            10      and foundation.
11      think the evidence will be quite clear            11      A. I have no personal knowledge.
12      that your client's testimony about the            12      Q. When you say you have no personal
13      extent of her relationship with                   13   knowledge, what do you mean by personal
14                       is not accurate.                 14   knowledge?
15          And in that context, I think the              15      A. I mean that I've read the police
16      circumstances under which it turns out            16   reports, so that's the only knowledge I have
17      that she doesn't show up is entirely              17   of what         or anybody else has with
18      appropriate for examination, but that is          18   Jeffrey. I have no way of knowing whether
19      something that I'm happy to talk to the           19   they did or not. Personal knowledge means
20      judge about.                                      20   did I know myself.
21          MR. PAGLIUCA: Sure. And I hope                21      Q. After you saw the police reports
22      that you give him some good faith basis           22   about Mr. Epstein's relations with
23      for the assertions that you are making            23                , did you ever talk to Mr. Epstein
24      here today, which are wholly improper.            24   about whether or not that police report was
25          MR. BOIES: I don't think they are             25   or was not accurate?




                                                                               31 (Pages 118 to 121)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 33 of 73
                                                Confidential
                                               Page 122                                                  Page 124
 1       G. Maxwell - Confidential                         1        G. Maxwell - Confidential
 2      A. I have not.                                     2       A. A very long time ago.
 3      Q. You did communicate with                        3       Q. How long?
 4   Mr. Epstein after you saw that police report,         4       A. I think two years ago, something
 5   correct?                                              5   like that.
 6         MR. PAGLIUCA: Objection to form                 6       Q. Before this defamation lawsuit?
 7      and foundation.                                    7       A. Excuse me?
 8      A. I don't know that's true.                       8       Q. Before this defamation lawsuit?
 9      Q. When did you see the police report?             9       A. You are asking if I communicated
10         MR. PAGLIUCA: If this involves                 10   with him before the defamation? What are you
11      communications with me, I'm going to              11   asking me?
12      instruct you not to answer the                    12       Q. Have you communicated with
13      questions.                                        13   Mr. Epstein since this defamation lawsuit was
14      Q. Is it your testimony that the only             14   filed?
15   time you saw the police reports was when it          15       A. I don't believe I have. I haven't
16   was shown to you by your counsel?                    16   spoken to him -- no, I don't think so. I
17      A. That's the only time I recollect.              17   don't remember when it was filed, no, I don't
18      Q. What?                                          18   think so.
19      A. That's the only time I remember                19       Q. By communication, I don't mean just
20   seeing it.                                           20   speaking to him. I mean writing him a
21      Q. When did your counsel show you the             21   letter, email, communicated in any way?
22   police report?                                       22       A. No.
23         MR. PAGLIUCA: If you remember, you             23       Q. When you say no, does that mean you
24      can answer that question.                         24   have not communicated with Mr. Epstein in any
25      A. I don't know. I guess recently,                25   way since this lawsuit was filed?
                                               Page 123                                                  Page 125
 1       G. Maxwell - Confidential                         1       G. Maxwell - Confidential
 2   but I don't recall.                                   2      A. I don't recall any communications
 3       Q. In the last 30 days?                           3   with him since this lawsuit has been filed.
 4       A. I really don't remember when I saw             4      Q. Did you ever discuss
 5   it.                                                   5            with Mr. Epstein?
 6       Q. Was the first time that you saw the            6          MR. PAGLIUCA: Objection to form
 7   police report sometime this calendar year             7      and foundation.
 8   2016?                                                 8      A. I would have had conversations with
 9       A. I don't remember when I've seen                9   him in general terms. Obviously I talked
10   them. It's in the course of this latest              10   about her with him but not in any context of
11   lies.                                                11   this situation. Just I will have talked to
12       Q. What do you mean, in the course of            12   him about her.
13   this latest lies?                                    13      Q. When was the last time you talked
14       A. In the course of this defamation              14   to Mr. Epstein about
15   suit.                                                15      A. Probably in 2003, 2002.
16       Q. And you may not be able to answer             16      Q. What was the subject matter of that
17   this, but if you can, I just want to know.           17   conversation?
18   When you saw the police report in the course         18      A. I have no idea.
19   of this defamation suit, was it this calendar        19      Q. Did it have anything to do with
20   year, that is 2016, sometime?                        20   Mr. Epstein's relationship with
21       A. I don't know, I'm sorry, I have no            21
22   memory.                                              22      A. No, I have no idea. It would have
23       Q. When is the last time you had a               23   nothing to do with anything other than a
24   conversation or communication with                   24   work-related issue.
25   Mr. Epstein?                                         25      Q. Did                        work for




                                                                               32 (Pages 122 to 125)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 34 of 73
                                                 Confidential
                                                Page 126                                                    Page 128
 1       G. Maxwell - Confidential                          1       G. Maxwell - Confidential
 2   Mr. Epstein?                                           2   started, did you have any reason to believe
 3      A. I believe she did.                               3   that Mr. Epstein had engaged in sexual
 4      Q. Was she working for Mr. Epstein in               4   activities with
 5   2003?                                                  5          MR. PAGLIUCA: Objection to form
 6      A. I believe she was.                               6      and foundation.
 7      Q. What was her job?                                7      A. I don't -- I have no idea. It
 8      A. I don't exactly know what her job,               8   wouldn't be something I think about.
 9   her responsibilities were.                             9      Q. I'm sorry, say that again?
10      Q. Do you know any of job                          10      A. I would have no idea.
11   responsibilities?                                     11      Q. Did                      , insofar as
12      A. I believe she traveled with him and             12   you were aware, ever give Mr. Epstein a
13   help managed the houses and run the staff and         13   massage?
14   whatever else he asked her to do. She worked          14      A. I have no idea.
15   for Mr. Epstein, so you would have to ask             15      Q. Did you ever see her go into the
16   him.                                                  16   massage room?
17      Q. Was it your understanding that                  17      A. Not that I recall, no.
18                          at some point had had a        18      Q. Did you ever tell
19   sexual or romantic relationship with                  19   that Mr. Epstein wanted her in the massage
20   Mr. Epstein?                                          20   room?
21      A. I have no knowledge of that.                    21      A. No.
22      Q. Let me go back to                      .        22      Q. Did you ever have any discussions
23   Did you know, yourself,                               23   with Mr. Epstein about
24      A. I met her.                                      24      A. None.
25      Q. Where did you meet her?                         25      Q. Did you ever have any discussions
                                                Page 127                                                    Page 129
 1       G. Maxwell - Confidential                          1        G. Maxwell - Confidential
 2       A. I don't recall where I met her, I               2   with                       about Mr. Epstein?
 3   just don't.                                            3       A. None.
 4       Q. Did you meet her at one of                      4       Q. Do you know how much money, if any,
 5   Mr. Epstein's properties?                              5   Mr. Epstein paid
 6       A. It's possible, but I don't recall               6       A. I have no idea, no, I have no idea.
 7   where I met her.                                       7       Q. Do you know whether Mr. Epstein
 8       Q. Did you ever see           at any of            8   paid                      , even if you don't know
 9   Mr. Epstein's properties?                              9   the amount?
10       A. I believe that -- I believe on the             10       A. No, I would not know that.
11   island, I recall, maybe.                              11   Actually, I don't, I don't recall any
12       Q. Virgin Islands?                                12   conversation --
13       A. Virgin Islands.                                13          MR. PAGLIUCA: There is no question
14       Q. Did          work for Mr. Epstein?             14       pending.
15       A. I don't know.                                  15       Q. Do you know who
16       Q. Did          travel with Mr. Epstein?          16   is?
17       A. I don't know. If she was on the                17       A. Yes.
18   island, then presumably she did. I don't              18       Q. Would you identify him for the
19   recall.                                               19   record?
20       Q. Did you ever see                               20       A.
21   at any of Mr. Epstein's properties other than
22   in the Virgin Islands?
23       A. Not that I recall.
24       Q. Leaving aside anything that you
25   have learned since this defamation suit




                                                                                 33 (Pages 126 to 129)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 35 of 73
                                                   Confidential
                                                Page 130                                                Page 132
 1       G. Maxwell - Confidential                          1        G. Maxwell - Confidential
 2   in Palm Beach in the 1990s and 2000s?                  2       Q. Did you see                   at Mr.
 3      A. I don't believe so.                              3   Epstein's Palm Beach residence in 2005?
 4      Q.                                for               4       A. I don't recall going to the house
 5   Mr. Epstein?                                           5   in 2005, but if I was there and he was
 6      A. I believe late -- middle of 2000s.               6   working, I would have seen him.
 7   2004, 2005, something like that.                       7       Q. Do you recall, as you sit here now,
 8      Q. When he became                                   8   one way or another, whether you were at Mr.
 9              , did he work for Mr. Epstein in            9   Epstein's Palm Beach residence in 2005?
10   Palm Beach?                                           10       A. I don't recall going to the house
11      A. I believe he did.                               11   in 2005, but if I did go, I would have seen
12      Q. And did you see                  at             12   him. And if I did go, it would have been
13   Mr. Epstein's Palm Beach residence while              13   once, maybe, I maybe went to the house in
14                                                         14   2005, I don't recall.
15                                                         15       Q. If you went to the house in 2005,
16      A. I was not in Palm Beach when he was             16   is it your testimony it would have only been
17   working for Mr. Epstein.                              17   once?
18      Q. I think you answered the question,              18       A. Sounds about right, maybe twice. I
19   but I want to be absolutely certain. Is it            19   was not in Palm Beach in 2005.
20   your testimony that you never saw                     20       Q. For you to have been at Mr.
21                   at Mr. Epstein's Palm Beach           21   Epstein's house in Palm Beach, you would have
22   residence?                                            22   had to have been in Palm Beach, right?
23      A. That is not my testimony.                       23       A. I would have had to have been in
24      Q. Did you ever see                     at         24   Palm Beach to be at his house in Palm Beach,
25   Mr. Epstein's Palm Beach residence?                   25   of course.
                                                Page 131                                                Page 133
 1       G. Maxwell - Confidential                          1       G. Maxwell - Confidential
 2      A. I'm sure I did because I would have              2       Q. So when you say you were not in
 3   seen him. I'm sure I did see him but -- yes,           3   Palm Beach in 2005, does that mean it is your
 4   I would have seen him.                                 4   testimony you were not at Mr. Epstein's house
 5      Q. When did you see                    at           5   in Palm Beach in 2005?
 6   Mr. Epstein's Palm Beach residence?                    6       A. I don't recall being at Mr.
 7      A. If I'm right and I could -- the                  7   Epstein's house in 2005, I don't really
 8   dates are a bit off, Mr. Epstein's mother              8   recall being in Palm Beach in 2005, and if I
 9   died, I think                 was working for          9   was in Palm Beach in 2005, I may not have
10   Mr. Epstein at that time, and I helped with           10   stayed at his house.
11   the funeral arrangements and I would have             11       Q. Is it your testimony that the most
12   seen him at that point.                               12   you would have been at Mr. Epstein's house in
13      Q. Other than the one occasion when                13   Palm Beach in 2005 was once or twice, if
14   Mr. Epstein's mother died, we can figure out          14   that?
15   what the date of that was --                          15       A. To the best of my recollection,
16      A. I don't have all the dates in my                16   that sounds about right. But I really don't
17   head.                                                 17   recall, 2005 is a long time ago, I just don't
18      Q. Other than the one occasion when                18   recall.
19   Mr. Epstein's mother died, did you ever see           19       Q. You were continuing to work for
20                                                         20   Mr. Epstein in 2005?
21      A. In that period of time when I went              21       A. I was helping out in just very
22   very infrequently to Palm Beach, I don't know         22   specific areas of staffing of the houses and
23   how many times, maybe once or twice and had           23   some architectural details and decorating.
24   he been at the house, I would have seen him,          24       Q. You were getting paid?
25   so there would have been very few times.              25           MR. PAGLIUCA: We've gone over




                                                                               34 (Pages 130 to 133)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 36 of 73
                                               Confidential
                                              Page 134                                                Page 136
 1       G. Maxwell - Confidential                        1      G. Maxwell - Confidential
 2      this. You don't need to testify about             2      AFTERNOON SESSION
 3      this again. We will take it up with the           3         (Time noted: 1:16 p.m.)
 4      judge, if we need to. I let this go on            4
 5      for 15 minutes about Palm Beach.                  5   G H I S L A I N E M A X W E L L,
 6         MR. BOIES: I ask the question, you             6     resumed and testified as follows:
 7      give the instruction, the judge decides.          7
 8      Q. In 2005, were you assisting in the             8          THE VIDEOGRAPHER: The time is 1:16
 9   arranging of massages for Mr. Epstein?               9      p.m., and we are back on the record.
10      A. No.                                           10      This also begins DVD No. 5.
11      Q. Not at all is your testimony?                 11          MR. PAGLIUCA: One housekeeping
12      A. Correct.                                      12      matter before you get started. The
13         MR. BOIES: This is a good time to             13      original deposition was as confidential
14      take a lunch break.                              14      and we would designate this continued
15         MR. PAGLIUCA: Okay. I don't                   15      deposition as confidential as well.
16      intend on being here all day, so if you          16          MR. BOIES: Okay.
17      have some important questions you want           17          Let me ask you to look at a
18      to ask, you may want to get to those.            18      document that has been marked as Maxwell
19         MR. BOIES: You can walk out any               19      Deposition Exhibit 28. This is another
20      time you want.                                   20      list of names.
21         MR. PAGLIUCA: We are getting                  21          (Maxwell Exhibit 28, List of names,
22      close.                                           22      marked for identification, as of this
23         MR. BOIES: The judge will decide              23      date.)
24      whether that's appropriate or not.               24      Q. What I would ask you to do is to
25         MR. PAGLIUCA: We are getting                  25   identify the names that are here that you do
                                              Page 135                                                Page 137
 1       G. Maxwell - Confidential                        1        G. Maxwell - Confidential
 2      close.                                            2   not recognize. That is, I think you will
 3         THE VIDEOGRAPHER: It's 12:15 p.m.              3   recognize most of the names --
 4      and we are going off the record.                  4          MR. POTTINGER: Excuse me one
 5         (Whereupon, a luncheon recess was              5       second.
 6      taken at 12:15 p.m.)                              6       Q. What I was saying was that I would
 7                                                        7   like you to look at the names here and tell
 8             * * *                                      8   me which names you do not recognize.
 9                                                        9       A. I pretty much recognize these
10                                                       10   names. I don't know everybody very well, but
11                                                       11   I recognize the names.
12                                                       12       Q. You know who they are?
13                                                       13       A. I don't know if I know who they
14                                                       14   are. I recognize the names.
15                                                       15       Q. Are most of the people on this list
16                                                       16   people that you've met before?
17                                                       17          MR. PAGLIUCA: Objection to form
18                                                       18       and foundation.
19                                                       19       A. I believe I've met pretty much
20                                                       20   everybody on this list.
21                                                       21       Q. Who on the list have you not met?
22                                                       22       A. I think I met them all.
23                                                       23       Q. Now, were all of these people
24                                                       24   people that at one time or another you were
25                                                       25   with with Mr. Epstein?




                                                                             35 (Pages 134 to 137)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 37 of 73
                                                 Confidential
                                               Page 138                                                  Page 140
 1        G. Maxwell - Confidential                        1        G. Maxwell - Confidential
 2           MR. PAGLIUCA: Objection to form               2       and foundation.
 3       and foundation.                                   3       A.                 was his girlfriend.
 4       A. I believe so.                                  4       Q. I am sorry?
 5       Q. Were any of these people on the                5       A.                 was his girlfriend.
 6   list, obviously leaving aside Mr. Epstein             6       Q. When was                   Mr. Epstein's
 7   himself, people who, to your knowledge,               7   girlfriend?
 8   received massages at one or more of Mr.               8       A. I don't know the dates, but I
 9   Epstein's properties?                                 9   believe in the '80s.
10           MR. PAGLIUCA: Objection to form              10       Q. In the 1980s?
11       and foundation.                                  11       A. Yeah, and part of the 1990s, I
12       A. I couldn't say.                               12   believe. So I don't know when they started
13       Q. Are there any people on this list             13   and when they ended. They were in a
14   who you have reason to believe received              14   long-term relationship.
15   massages at one or more of Mr. Epstein's             15       Q. Was Mr. Epstein engaged in sexual
16   properties?                                          16   activities with               during the
17           MR. PAGLIUCA: Objection to form              17   period of time that you were involved with
18       and foundation.                                  18   Mr. Epstein?
19       A. I couldn't say.                               19       A. I wouldn't know.
20       Q. Just to be clear, my most recent              20       Q. How old was                    when she
21   question is whether any of the people on this        21   was first involved with Mr. Epstein?
22   list are people who you have reason to               22       A. I don't know.
23   believe received massages at one of Mr.              23       Q. How old was                    when you
24   Epstein's properties?                                24   first met her?
25           MR. PAGLIUCA: Same objection.                25       A. I don't recall.
                                               Page 139                                                  Page 141
 1       G. Maxwell - Confidential                         1        G. Maxwell - Confidential
 2      A. I couldn't say.                                 2       Q. Did any of the people on this list,
 3      Q. Why can't you say?                              3   other than Mr. Epstein himself, and the list
 4      A. Because I just don't know.                      4   is Exhibit 28, ever ask you to arrange a
 5      Q. Well, you know whether you have a               5   massage?
 6   reason to believe, correct?                           6           MR. PAGLIUCA: Objection to form
 7          MR. PAGLIUCA: Objection to form                7       and foundation.
 8      and foundation.                                    8       A. Not that I recall.
 9      A. These are events that took place 17             9       Q. Did you arrange a massage for any
10   years ago, and I really do not know. It is           10   of the people on this list other than
11   possible that people on that list got a              11   Mr. Epstein?
12   massage, it's also possible they didn't. I           12       A. Not that I recall.
13   really don't know, leaving aside, of course,         13       Q. Were any of the people on this
14   Mr. Epstein himself.                                 14   list, other than Mr. Epstein, given a massage
15      Q. Yes.                                           15   at any of Mr. Epstein's residences?
16          MR. PAGLIUCA: One second, I'm                 16           MR. PAGLIUCA: Objection to form
17      getting text messages.                            17       and foundation. Asked and answered.
18                                                        18       A. I wouldn't know.
                                                          19       Q. Did any of the people on this list,
                                                          20   other than Mr. Epstein, engage in sexual
               .                                          21   activities with anyone at Mr. Epstein's
22      Q. Are there any names on this list               22   properties?
23   that you have reason to believe Mr. Epstein          23           MR. PAGLIUCA: Objection to form
24   engaged in sexual activities with?                   24       and foundation.
25         MR. PAGLIUCA: Objection to form                25       A. I wouldn't know.




                                                                               36 (Pages 138 to 141)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 38 of 73
                                               Confidential
                                              Page 142                                    Page 144
 1       G. Maxwell - Confidential                       1    G. Maxwell - Confidential
 2      Q. When you say I wouldn't know, I               2
 3   take it you mean to include that you
 4   testified that you do not know, is that
 5   correct?
 6          MR. PAGLIUCA: Objection to form
 7      and foundation.
 8      A. I would have no knowledge. I have
 9   no knowledge of what you are asking me.
10      Q. Did you ever have conversations
11   with anyone that were intended to convince
12   them to engage in sexual activities with
13   Mr. Epstein?
14          MR. PAGLIUCA: Objection to form
15      and foundation. This has been asked and
16      answered in her previous deposition, by
17      the way.
18      A. No.
19      Q. Did you ever tell anyone that
20   Mr. Epstein was a scout for Victoria's
21   Secret?
22      A. I don't recall saying that.
23      Q. Did you ever tell anyone that
24   Mr. Epstein could get them a job with
25   Victoria's Secret?
                                              Page 143                                    Page 145
 1       G. Maxwell - Confidential                       1    G. Maxwell - Confidential
 2      A. I don't recall saying that.                   2
 3      Q. Do you deny saying that, or do you
 4   simply say you don't recall, one way or
 5   another, whether you said it?
 6         MR. PAGLIUCA: This is outside the
 7      court's order, so I will tell you not to
 8      answer this, and we will take it up with
 9      the judge.
10




                                                                         37 (Pages 142 to 145)
     Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 39 of 73
                                Confidential
                                Page 146                                                  Page 148
1   G. Maxwell - Confidential               1      G. Maxwell - Confidential
2                                           2




                                Page 147                                                  Page 149
1   G. Maxwell - Confidential               1      G. Maxwell - Confidential
2                                           2




                                           15       Q. Was there anything that occurred
                                           16   that led you to conclude that you didn't want
                                           17   to be there anymore?
                                           18       A. I ceased to be happy in the job and
                                           19   I ceased to be happy spending time with
                                           20   Mr. Epstein.
                                           21       Q. Was there anything that happened
                                           22   that you can identify that caused you to
                                           23   cease to be happy spending time with
                                           24   Mr. Epstein?
                                           25       A. He became more difficult to work




                                                                38 (Pages 146 to 149)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 40 of 73
                                                   Confidential
                                                 Page 150                                                    Page 152
 1        G. Maxwell - Confidential                          1      G. Maxwell - Confidential
 2   with.                                                   2
 3       Q. Was there any particular aspect of
 4   that that you can identify now?
 5       A. Just general. Just doesn't work.
 6       Q. Let me focus on                 . Now,
 7   you testified that you have no reason to                7      Q. Did you ever have conversations
 8   believe that               engaged in sexual            8   with anyone who was engaged in sexual
 9   activities with anyone at any of Mr.                    9   activities with Mr. Epstein about those
10   Epstein's residences, is that correct?                 10   sexual activities?
11       A. I would have no knowledge of that.              11          MR. PAGLIUCA: Objection to form
12       Q. Did you ever see                  engage        12      and foundation.
13   in sexual activities with anyone?                      13      A. I never had those conversations.
14       A. I did not.                                      14      Q. So would it be your testimony that
15       Q. Did you ever see                  taking        15   you never had any conversations about Mr.
16   photographs of people engaged in sexual                16   Epstein's sexual activities with
17   activities?                                            17
18       A. I did not.                                      18      A. I have never talked about sex with
19       Q. I apologize for getting into                    19          at any point. I have hardly ever
20   something that is kind of an intimate area,            20   spoken to her.
21   but I need to establish this, in part because          21      Q. Would your testimony be the same
22   it relates to patterns of conduct, and I need          22   with respect to
23   to ask you some questions about your sexual            23      A. That would be true, correct, I have
24   activities with Mr. Epstein.                           24   not.
25       A. Okay.                                           25      Q. And Virginia Roberts?
                                                 Page 151                                                    Page 153
 1      G. Maxwell - Confidential                            1       G. Maxwell - Confidential
 2                                                           2      A. Of course not.
                                                             3      Q. Were there any young men that, to
                                                             4   your knowledge, would bring women over to
                                                             5   Mr. Epstein's residences to perform services
                                                             6   for Mr. Epstein?
                                                             7          MR. PAGLIUCA: Objection to form
                                                             8      and foundation.
                                                             9      A. Can you repeat the question,
                                                            10   please?
                                                            11      Q. Were there any young men that, to
                                                            12   your knowledge, would bring women over to
                                                            13   Mr. Epstein's residences to perform services
                                                            14   for Mr. Epstein?
                                                            15      A. I have no idea what you are talking
                                                            16   about, I'm sorry.
                                                            17      Q. I'm talking about whether there
                                                            18   were any young men that brought women over to
                                                            19   Mr. Epstein's residence to perform services?
                                                            20      A. I can't think of a single man in
                                                            21   that context that I've ever met.
                                                            22      Q. You testified earlier that you did
                                                            23   not recall ever meeting                , is
                                                            24   that correct?
                                                            25      A. I don't believe I ever have.




                                                                                39 (Pages 150 to 153)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 41 of 73
                                                 Confidential
                                                Page 154                                                  Page 156
 1       G. Maxwell - Confidential                          1       G. Maxwell - Confidential
 2       Q. Insofar as you were aware, did                  2      what has been going on, and I
 3   Virginia Roberts ever have a male friend that          3      attribute -- maybe I shouldn't attribute
 4   visited her at the Epstein residences?                 4      it at all.
 5       A. I don't recall ever seeing a man                5          But if you want to instruct not to
 6   with Virginia. I believe she had a fiance              6      answer, instruct not to answer. If you
 7   that I was aware of, I think, but that's all.          7      don't, again, all I will do is request
 8       Q. When were you aware that Virginia               8      that you cease your comments. I can't
 9   Roberts had a fiance?                                  9      do that. All I can do is seek sanctions
10       A. I can't say I became aware from                10      afterwards.
11   reading all this stuff, or I was aware of it          11   BY MR. BOIES:
12   at the time. I don't know.                            12      Q. Ms. Maxwell.
13       Q. Did you ever meet Virginia Roberts'            13      A. Mr. Boies.
14   fiance?                                               14      Q. What?
15       A. I don't think I ever did. I don't              15      A. I'm replying. You said Ms.
16   recall meeting any men with Virginia.                 16   Maxwell, I said Mr. Boies.
17       Q. Do you know                     ,              17      Q. Do you have a question?
18                                                         18      A. No.
19      A. I never heard that name before.                 19      Q. I have a question.
20      Q. Have you ever heard the name of                 20      A. I'm sure you do.
21                                                         21      Q. During the time that you were in
22      A. I don't recollect that name at all.             22   the property or at the property that
23         MR. PAGLIUCA: Mr. Boies, those                  23   Mr. Epstein has in the Virgin Islands, were
24      names are on Exhibit 26, which we have             24   you aware of Mr. Epstein getting any
25      already gone over and she said she                 25   massages?
                                                Page 155                                                  Page 157
 1       G. Maxwell - Confidential                          1        G. Maxwell - Confidential
 2      didn't recognize those people, so now we            2       A. He did receive massages at the
 3      are just repeating things that we went              3   Virgin Islands property.
 4      over.                                               4       Q. From whom did he receive massages
 5          MR. BOIES: I am in the context of               5   at the Virgin Islands?
 6      seeing if I can refresh her                         6       A. There is a professional masseuse
 7      recollection, because these are women               7   and masseur that came from St. Thomas.
 8      that               , who she also does not          8       Q. This was somebody who came over
 9      recall, brought over to Mr. Epstein's               9   from St. Thomas for the day to give massages
10      residences, and I also want to make a              10   and then left, or was that person a resident?
11      very clear record of what her testimony            11       A. I believe, from memory, they came
12      is and is not right now.                           12   over, gave a massage and left.
13          Again, you can instruct her not to             13       Q. And who arranged for this person to
14      answer if you wish.                                14   come over from St. Thomas?
15          MR. PAGLIUCA: I'm trying to get to             15       A. Probably the staff at the island.
16      nonrepetitive questions here. You                  16       Q. But you don't know?
17      basically asked the same question three            17       A. The staff of the island would have
18      times. Then we get a pile of notes that            18   made those arrangements.
19      get pushed up to you, you read those.              19       Q. Who at the staff?
20      Then you ask those three times, and then           20       A. Whoever would have been running the
21      we go to another question. So it's                 21   island at that period of time.
22      taking an inordinately long amount of              22       Q. Do you know who that was?
23      time and it shouldn't.                             23       A. I'm sorry, in this moment I can't
24          MR. BOIES: I think that is a                   24   think of the names of the people who worked
25      demonstrably inaccurate statement of               25   on the island.




                                                                                40 (Pages 154 to 157)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 42 of 73
                                                Confidential
                                               Page 158                                                 Page 160
 1        G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2       Q. Did you ever arrange for anyone to             2       A. It was a cabana, and also he had a
 3   give Mr. Epstein a massage at his Virgin              3   beach place, a place on the beach where from
 4   Island property?                                      4   time to time he would...
 5       A. I don't recall if I ever made a                5       Q. Did you ever see Mr. Epstein being
 6   call to the massage people in St. Thomas. I           6   given a massage in the beach area where he
 7   don't recall.                                         7   from time to time had massages?
 8       Q. Did Mr. Epstein ever receive                   8       A. I don't have any recollection of a
 9   massages at his Virgin Island property from           9   specific memory, but it was just on the
10   people that he had brought with him on his           10   beach, so there wouldn't be any privacy, he
11   plane from the United States?                        11   would just be getting a massage.
12          MR. PAGLIUCA: Objection to form               12       Q. That would be visible to people who
13       and foundation.                                  13   are on the beach, correct?
14       A. I don't know.                                 14       A. It would be, yes.
15       Q. Did you ever participate in                   15       Q. Did you, at any time when you were
16   arranging for a massage for Mr. Epstein by           16   there, see Mr. Epstein being given a massage
17   someone who had been brought to the island on        17   in this beach area other than by a
18   Mr. Epstein's plane?                                 18   professional masseuse brought to the island
19       A. My memory of the massages on the              19   from St. Thomas?
20   island were from people who came from St.            20       A. I don't have any memory of -- I
21   Thomas.                                              21   don't have a specific memory of seeing him
22       Q. Does that mean that you never                 22   get a massage on the beach. I just have an
23   participated in arranging for a massage for          23   image of a massage on the beach, so I don't
24   Mr. Epstein at his Virgin Island property to         24   know who, I have no memory of it.
25   be given by someone who had been brought to          25       Q. Whether or not you have a specific
                                               Page 159                                                 Page 161
 1        G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2   the island on Mr. Epstein's plane?                    2   memory of it, do you have a general memory
 3          MR. PAGLIUCA: Objection to form                3   that from time to time Mr. Epstein got
 4       and foundation.                                   4   massages down in the beach area?
 5       A. I don't recall, I have no idea.                5      A. I have a general memory, I do.
 6       Q. Mr. Epstein did bring women to his             6      Q. Do you have a general memory that
 7   Virgin Island property on his plane from time         7   from time to time those massages were given
 8   to time, right?                                       8   to Mr. Epstein by people other than a
 9          MR. PAGLIUCA: Objection to form                9   professional masseuse brought to the island
10       and foundation.                                  10   from St. Thomas?
11       A. People came to the island who were            11          MR. PAGLIUCA: Objection to form
12   his guests.                                          12      and foundation.
13       Q. And some of those guests, as you              13      A. I have no idea who would be giving
14   described it, were women, right?                     14   him a massage in that general memory of mine,
15       A. Indeed.                                       15   so I can't say. The massages that I recall
16       Q. Did you ever participate in                   16   were from people from St. Thomas, and that's
17   arranging for any of the women that came to          17   what I recall.
18   Mr. Epstein's Virgin Island property to              18      Q. Did anyone ever complain to you
19   provide Mr. Epstein with a massage?                  19   that Mr. Epstein had demanded sex of them?
20       A. No.                                           20          MR. PAGLIUCA: Objection to form
21       Q. Where on the Virgin Island property           21      and foundation.
22   did Mr. Epstein have his massages?                   22      A. Is that a question?
23       A. I believe from memory he had them             23      Q. Yes.
24   in the master cabana.                                24      A. Never.
25       Q. In what?                                      25      Q. Do you know somebody named




                                                                              41 (Pages 158 to 161)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 43 of 73
                                                 Confidential
                                                Page 162                                                 Page 164
 1      G. Maxwell - Confidential                           1       G. Maxwell - Confidential
 2                                                          2          MR. PAGLIUCA: Objection to form
 3       A. I do not.                                       3      and foundation.
 4       Q. Who is he?                                      4      A. No, no.
 5       A. I don't know him -- I know who he               5      Q. Let me see if I can possibly
 6   is now, but he worked, I believe, for                  6   refresh your recollection. Do you recall
 7          , but prior to --                               7   being at the
 8       Q.                                                 8                 that was crying and very
 9       A. Yeah.                                           9   distraught?
10       Q. It's your testimony you never met              10      A. I have never seen that.
11                                                         11      Q. Did you ever take the passport of
12      A. I don't recall ever meeting him.                12   any person who had told you that Mr. Epstein
13      Q. Do you remember being at                        13   had demanded sex of them?
14                                                         14      A. No.
15                                                         15      Q. Were you ever at any residence of
16      A. I do not.                                       16   Mr. Epstein's when Alan Dershowitz was
17      Q. Do you ever remember a                          17   present?
18                                          during         18      A. I'm sure I was.
19   the period of time that you were with                 19      Q. Were you at Mr. Epstein's Palm
20   Mr. Epstein?                                          20   Beach residence when Mr. Dershowitz was
21      A. I do not.                                       21   present?
22      Q. Was there ever a time when you were             22      A. I may have been. It's possible.
23   at                      with a girl under the         23      Q. Were you at Mr. Epstein's New
24   age of 21 who had been with Mr. Epstein?              24   Mexico property when Mr. Dershowitz was
25         MR. PAGLIUCA: Objection to form                 25   present?
                                                Page 163                                                 Page 165
 1        G. Maxwell - Confidential                         1       G. Maxwell - Confidential
 2       and foundation.                                    2       A. I don't have any memory of that,
 3       A. Can you repeat the question,                    3   but it's possible. I just don't recall it.
 4   please?                                                4       Q. Were you at Mr. Epstein's Virgin
 5       Q. Sure.                                           5   Islands property when Mr. Dershowitz was
 6          You remember from time to time                  6   present?
 7   being at                       , correct?              7       A. That I do recall, yes.
 8       A. I do.                                           8       Q. Were you at Mr. Epstein's New York
 9       Q. And I think you testified that you              9   property when Mr. Dershowitz was present?
10   don't remember whether                 was present    10       A. Again, it's possible, but I don't
11   on any of those occasions, although he might          11   have a memory of it.
12   have been, correct?                                   12       Q. How many times do you recall being
13       A. If             was standing right              13   at Mr. Epstein's Virgin Island property when
14   here in front of me, I wouldn't know who he           14   Mr. Dershowitz was also present?
15   is.                                                   15       A. I only recall once.
16       Q. Does that mean you are saying that             16       Q. When was that?
17   you never met him or simply that you don't            17       A. I don't recall the date.
18   remember him?                                         18       Q. Who else was present on that time?
19       A. I don't know if I ever met him, but            19       A. I believe his wife and his
20   if I saw him in a picture, maybe I would              20   daughter.
21   recognize it, but I don't believe I'd                 21       Q. Anyone else?
22   remember him.                                         22       A. I don't recall anyone else.
23       Q. Did you ever go to the                         23       Q. Anyone else on the whole island. I
24              with some woman who had previously         24   don't just mean with him. I mean did
25   been with Mr. Epstein?                                25   Mr. Epstein have other guests with him at




                                                                                42 (Pages 162 to 165)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 44 of 73
                                               Confidential
                                              Page 166                                                 Page 168
 1       G. Maxwell - Confidential                        1       G. Maxwell - Confidential
 2   that time?                                           2      Q. I'm not now asking you about a
 3      A. I don't recall anybody else.                   3   conversation.
 4      Q. How did you arrive there?                      4      A. What are you asking me? Sorry.
 5      A. I don't know.                                  5      Q. Do you recall ever seeing
 6      Q. Did you come with Mr. Epstein?                 6   Mr. Dershowitz at any of Mr. Epstein's
 7      A. I don't know, I'm sorry.                       7   residences other than the Virgin Island
 8      Q. How did Mr. Dershowitz arrive                  8   property?
 9   there?                                               9      A. I don't have any specific
10      A. Again, I don't know.                          10   recollection.
11      Q. Did he come with Mr. Epstein?                 11      Q. Do you have a general recollection?
12      A. I don't know.                                 12      A. I have a general recollection that
13      Q. Other than that one time that you             13   I have seen him, but I just don't have any
14   say you were at the Virgin Island property          14   other memory of it. I know I met him. I
15   with Mr. Dershowitz, had you ever met               15   just don't recall where or when, except for
16   Mr. Dershowitz in Mr. Epstein's presence?           16   that singular event on the island.
17          MR. PAGLIUCA: This is outside of             17      Q. When you say you have a general
18      the court's order. I will tell you not           18   recollection that you have seen him, do you
19      to answer that question.                         19   mean you have a general recollection that you
20          THE WITNESS: Okay.                           20   have seen him at Mr. Epstein's properties
21      Q. Did Mr. Dershowitz ever receive a             21   other than the Virgin Islands?
22   massage at any of Mr. Epstein's properties?         22      A. It's just a general recollection,
23      A. I don't recall.                               23   but I have no specific memory of seeing him.
24      Q. Did you ever have any conversations           24      Q. All I'm trying to do is find out
25   with Mr. Dershowitz?                                25   whether your general recollection is a
                                              Page 167                                                 Page 169
 1       G. Maxwell - Confidential                        1        G. Maxwell - Confidential
 2         MR. PAGLIUCA: You don't have to                2   general recollection of having seen him
 3      answer that question. About what,                 3   someplace in the world or whether you have a
 4      anything?                                         4   general recollection of having seen him at
 5      Q. Did you ever have any conversations            5   Mr. Epstein's properties?
 6   with Mr. Dershowitz at Mr. Epstein's                 6       A. I'm sorry, I really can't answer.
 7   properties?                                          7   I just don't know. The only memory I have of
 8      A. I did, about metal detecting.                  8   him is on the island, and I don't have any
 9      Q. Anything else?                                 9   additional memory of him anywhere else.
10      A. I only recall metal detecting.                10       Q. I mentioned a woman by the name of
11      Q. Where did that conversation take              11             before. Are you familiar with a
12   place?                                              12                       And I don't mean to imply
13      A. As I was metal detecting.                     13   they are the same people.
14      Q. I said where?                                 14       A. Is this on any of these lists that
15      A. On the island.                                15   you gave me?
16      Q. That's the only conversation that             16       Q. It could have been on the first
17   you recall, is that your testimony?                 17   list. I don't think so.
18      A. Yes, that is my testimony.                    18       A. Is it on this list?
19      Q. Do you recall ever seeing                     19       Q. It's not on the second list.
20   Mr. Dershowitz at any of Mr. Epstein's              20       A. So what's your question?
21   residences other than the Virgin Island             21       Q. Are you familiar with a woman named
22   property?                                           22
23      A. That's the only specific memory I             23      A. I'm familiar with the name, yes.
24   have of the conversation that I recall              24      Q. Who is that person?
25   because it was something special.                   25      A. I don't recall who she is.




                                                                             43 (Pages 166 to 169)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 45 of 73
                                                 Confidential
                                                Page 170                                                 Page 172
 1       G. Maxwell - Confidential                          1      G. Maxwell - Confidential
 2      Q. What is                    connection            2
 3   to Mr. Epstein?
 4      A. I don't know.
 5      Q. Did you ever speak to
 6
 7       A. I don't recall. I know her name,
 8   and that's all I can -- I don't recall a               8      A. Are you giving me a timeframe here,
 9   conversation with her. I don't recall who              9   because it's been a long time. I'm assuming
10   she is at this point.                                 10   he is having sexual relations today. You
11       Q. Was                       someone who          11   have to bind it to some time.
12   provided massages for Mr. Epstein?                    12      Q. You don't know who he is having
13       A. I don't believe so.                            13   sexual relationships with today, do you?
14       Q. Did                      perform any           14      A. No.
15   services for Mr. Epstein?                             15      Q. So you can only tell me who
16          MR. PAGLIUCA: Objection to form                16   Mr. Epstein was having sexual relationships
17       and foundation.                                   17   with at a time when you knew about it,
18       A. I have no idea, I'm sorry.                     18   correct?
19       Q. When did you first become aware of             19      A. I have no knowledge of him actually
20   charges that Mr. Epstein was having sex with          20   having sex with anybody else outside of what
21   a significant number of people at his                 21   we have identified,
22   residences?                                           22                                     .
23          MR. PAGLIUCA: You don't have to                23      Q. Now, there came a time when you
24       answer that question. It's outside of             24   learned that people were asserting that he
25       the court's order.                                25   had had sexual activities with a lot more
                                                Page 171                                                 Page 173
 1       G. Maxwell - Confidential                          1        G. Maxwell - Confidential
 2      Q. You have testified that you were                 2   than those three people at his residences,
 3   only aware of a few people that Mr. Epstein            3   correct? During the period of time that you
 4   had sex with or engaged in sexual activities           4   were involved with Mr. Epstein, correct?
 5   with at his residences, correct?                       5       A. Like everybody else, like the rest
 6          MR. PAGLIUCA: Objection to form                 6   of the world, when it was announced in the
 7      and foundation.                                     7   papers.
 8      A. I didn't say that.                               8       Q. Yes.
 9      Q. How many people are you aware of                 9          And that was during 2005?
10   that Mr. Epstein engaged in sexual activities         10       A. Whenever it was.
11   with at his residences?                               11       Q. At that point, did you do anything
12      A. I'm not aware.                                  12   to try to find out whether those assertions
13      Q. You are aware of some?                          13   were or were not accurate?
14      A. Well, the ones that we've                       14          MR. PAGLIUCA: You don't have to
15   discussed, but that's all I'm aware of.               15       answer that. That's outside the court's
16      Q. That's my question.                             16       order.
17      A. Then I can concur, yes.                         17       Q. When you heard that there were
18      Q. Let's be clear. You have                        18   assertions that Mr. Epstein had engaged in
19   identified three people.                              19   sexual activities with people who you had met
20                                                         20   at Mr. Epstein's residences, did you do
                                                           21   anything to determine whether those
                                                           22   assertions were or were not accurate?
                                                           23          MR. PAGLIUCA: Objection to form
                                                           24       and foundation, and you don't have to
                                                           25       answer that question. It's outside the




                                                                               44 (Pages 170 to 173)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 46 of 73
                                             Confidential
                                            Page 174                                                Page 176
 1       G. Maxwell - Confidential                      1        G. Maxwell - Confidential
 2      court's order.                                  2   sexual activities with
 3      Q. In terms of preparing for this               3          MR. PAGLIUCA: Objection to form
 4   deposition, what documents did you review?         4       and foundation.
 5           MR. PAGLIUCA: To the extent I              5       A. I didn't have any reason -- I had
 6      provided you with any documents to              6   no idea whether they were or weren't.
 7      review, I will tell you that's both --          7       Q. Were you with Mr. Epstein in 2005
 8      it's privileged and I instruct you not          8   when the Palm Beach police launched their
 9      to answer.                                      9   investigation?
10      Q. Did your lawyer provide you with            10          MR. PAGLIUCA: You don't have to
11   any documents to review in preparation for        11       answer the question. That's outside the
12   this deposition that refreshed your               12       court's order.
13   recollection about any of the events that         13       Q. When the Palm Beach police launched
14   occurred?                                         14   their investigation in 2005, did you make any
15           MR. PAGLIUCA: You can answer that         15   effort to retain records of the women who had
16      question.                                      16   been present at Mr. Epstein's residences in
17      A. No.                                         17   the prior period?
18      Q. How many documents did your lawyer          18          MR. PAGLIUCA: Don't answer that
19   provide you with?                                 19       question. It's outside the court's
20           MR. PAGLIUCA: You can answer.             20       order.
21      A. One, I believe.                             21       Q. When the Palm Beach police launched
22      Q. One document. Was that a document           22   their investigation in 2005, were you aware
23   that had been prepared by your attorney, or       23   of any effort to destroy records of women who
24   was it a document from the past?                  24   had been present at Mr. Epstein's residences
25           MR. PAGLIUCA: I will tell you not         25   in the prior period?
                                            Page 175                                                Page 177
 1       G. Maxwell - Confidential                      1       G. Maxwell - Confidential
 2      to answer that question.                        2          MR. PAGLIUCA: Don't answer that
 3      Q. Was the document that your attorney          3      question. It's outside the court's
 4   showed you a document that you had ever seen       4      order.
 5   before?                                            5      Q. In 2005, were you aware of any
 6         MR. PAGLIUCA: Again, don't answer            6   effort to destroy records of messages you had
 7      questions about what I showed you or            7   taken of women who had called Mr. Epstein in
 8      didn't show you.                                8   the prior period?
 9         She already testified that nothing           9          MR. PAGLIUCA: Don't answer that
10      refreshed her recollection.                    10      question. It's outside the court's
11         MR. BOIES: I don't have to accept           11      order.
12      that answer. I can ask these questions,        12          MR. BOIES: I said I would give you
13      and I think these are clearly not              13      a break every hour. It's been an hour.
14      privileged questions.                          14          MR. PAGLIUCA: Do you want a break
15      Q. Do you know a                               15      or do you want to keep going?
16      A. I do.                                       16          THE WITNESS: Keep going.
17      Q. Who is                                      17          MR. BOIES: What I told you before,
18      A. She was a friend of Jeffrey's.              18      you asked for a break every hour. I am
19      Q. Was                  someone with whom      19      happy to give you a break at a fixed
20   Mr. Epstein engaged in sexual activities?         20      time. What I'm not happy to do is
21         MR. PAGLIUCA: Objection to form             21      interrupt a chain of examination.
22      and foundation.                                22          So if you want a break now, we will
23      A. I don't know.                               23      take a break now. If you don't want a
24      Q. Did you ever have any reason to             24      break now, we will not break for another
25   believe that Mr. Epstein was engaged in           25      hour.




                                                                           45 (Pages 174 to 177)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 47 of 73
                                            Confidential
                                           Page 178                                                      Page 180
 1      G. Maxwell - Confidential                      1       G. Maxwell - Confidential
 2         MR. PAGLIUCA: Is there a rule that          2      Q. I would like to go down those names
 3     you can point me to that mandates that          3   and see if any of those people are people
 4     you get to control the time and place of        4   that you recognize. However you think is
 5     breaks?                                         5   best, we can go name by name, or you can tell
 6         MR. BOIES: No. We will take a               6   me which ones you recognize and which ones
 7     break now, because if what you are going        7   you don't.
 8     to do is say, you said at the very              8      A. I recognize           . I recognize
 9     beginning of this thing that you wanted         9                                        . These are
10     to have a rule that every hour we took a       10   names that ring bells, nothing else.
11     break, and I said that was fine with me,       11                I recognize the name.
12     but I just didn't want you taking a            12      Q. Where is
13     break, particularly since you reserve          13      A.               . I just recognize
14     the right to talk to your client during        14   these names. It doesn't mean anything else.
15     breaks, in the middle of an examination.       15   I'm just recognizing names.
16         Now you are saying let's continue          16                            .
17     for a while but I am not agreeing to           17          Let me do it again and make sure I
18     continue for the next hour. We will            18   didn't miss anyone. That's it.
19     take a break, and we will come back and        19      Q. Now, with respect to the people
20     we will go from there.                         20   that you say you recognized the names of,
21         MR. PAGLIUCA: We will take a break         21
22     at your request now, and then if I want                                                     , were
23     to take a break, we will take another          23   any of those people, people who provided
24     break.                                         24   massages to Mr. Epstein?
25         MR. BOIES: If you take a break to          25         MR. PAGLIUCA: Objection to form
                                           Page 179                                                      Page 181
 1       G. Maxwell - Confidential                     1        G. Maxwell - Confidential
 2      talk to your witness, I guarantee you          2       and foundation.
 3      there will be a motion for sanctions. I        3       A. Sorry, I guess. I believe
 4      think what you're doing with this              4   did, and I believe -- I think that's it that
 5      witness is inappropriate. I think your         5   I know of, I think.
 6      instructions not to answer,                    6       Q. Now, just going down the names of
 7      conversations that you had with her            7   people that you did not recognize, I take it
 8      while she is under oath and under              8   you are not aware or recognize the name
 9      examination is inappropriate.                  9   first name?
10          THE VIDEOGRAPHER: It's 2:18 p.m.,         10       A. It was just a first name. I can't
11      and we are off the record.                    11   think of a         at this point.
12          (Recess.)                                 12       Q. The same thing is true for
13          THE VIDEOGRAPHER: The time is 2:28        13       A. I don't recognize          .
14      p.m. This also begins DVD No. 6.              14       Q. And
15   BY MR. BOIES:                                    15       A. I don't recognize
16      Q. Let me hand you a document that has        16       Q. And
17   been previously marked as Maxwell Exhibit 13.    17       A. Is that              Where is that?
18   And I would like you to turn to page 91 of       18   That's          , I'm sorry, I missed her.
19   that exhibit. And you see the heading that       19   That would probably be                        .
20   says, "Massage-Florida"?                         20          I think         might have been a
21      A. Actually, I don't -- yes, I do,            21   masseuse as well. There is a             in the
22   sorry.                                           22   back of my head.
23      Q. Then you see a list of telephone           23       Q.
24   numbers with names?                              24       A. I don't know who that is.
25      A. I do.                                      25       Q. What about




                                                                            46 (Pages 178 to 181)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 48 of 73
                                                    Confidential
                                                    Page 182                                                  Page 184
 1       G. Maxwell - Confidential                              1       G. Maxwell - Confidential
 2       A. No.                                                 2      Q. Next one is           --
 3       Q. What about                                          3      A.         is Virginia's guy that you
 4       A. No.                                                 4   asked me about. I don't know
 5       Q.                                                     5      Q. I asked you about a                 .
 6       A. No.                                                 6      A. Right, I don't know him, so I'm
 7       Q.                                                     7   guessing, I don't know him.
 8       A. I didn't think I know a                             8      Q.
 9   period.                                                    9      A. No.
10       Q.                                                    10      Q.
11       A. No.                                                11      A. No.
12       Q. Is that Virginie?                                  12      Q.
13       A. I don't know what that is.                         13      A. I don't know who these people are.
14       Q. Then there is a         or                         14      Q. Was there a list that was kept of
15          Do you see that?                                   15   women or girls who provided massages?
16       A. I don't see that.                                  16          MR. PAGLIUCA: This has been
17       Q. It's right after Virginia, which is                17      previously deposed on. This is not part
18   right after                                               18      of the court's order, I will tell her
19       A. I see it. I don't know who that                    19      not to answer.
20   is.                                                       20          MR. BOIES: You are going to tell
21       Q. How about                                          21      her not to answer a question that says
22       A. No idea.                                           22      was there a list of women or girls who
23       Q. There is someone here           , and              23      provided massages?
24   described as a redhead?                                   24          MR. PAGLIUCA: She has been
25       A. I don't know who that is.                          25      previously deposed on this subject.
                                                    Page 183                                                  Page 185
 1       G. Maxwell - Confidential                              1       G. Maxwell - Confidential
 2       Q.                                                     2          MR. BOIES: I think this is
 3       A. No.                                                 3      squarely in the court's order, but if
 4       Q. And there is a                                      4      you instruct her not to answer, you
 5       A. I don't know.                                       5      instruct her not to answer.
 6       Q.                                                     6          MR. PAGLIUCA: We'll find out.
 7       A. No idea.                                            7   BY MR. BOIES:
 8       Q. Then there is                                       8      Q. I take it you don't know the ages
 9       A. That's a name that keeps coming up.                 9   of any of these people?
10   I recognize the name, but I don't know her in             10      A. The ones that I did recognize were
11   particular.                                               11   roughly my age. The ones I don't know, I
12       Q. What about                                         12   wouldn't have a clue.
13       A. I have no idea who that is.                        13      Q. Did you, or insofar as you are
14       Q.                                                    14   aware anyone, maintain a list of females that
15       A. No idea.                                           15   provided massage services to Mr. Epstein at
16       Q. Somebody that's listed as                          16   his residences?
17             , Virginia's friend?                            17          MR. PAGLIUCA: Objection to form
18       A. No.                                                18      and foundation.
19       Q.                , do you know who that              19          You can answer if you can.
20   is?                                                       20      A. I don't know anything about a list.
21       A. No.                                                21      Q. Let me go back to Exhibit 28. I
22       Q. How about                     friend?              22   want to go down this list, excluding
23       A. No.                                                23   Mr. Epstein himself, and just ask you a
24       Q. Do you know who            is?                     24   series of the same essential questions about
25       A. No.                                                25   each one.




                                                                                    47 (Pages 182 to 185)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 49 of 73
                                                   Confidential
                                                 Page 186                                                 Page 188
 1        G. Maxwell - Confidential                          1        G. Maxwell - Confidential
 2                        , which of Mr. Epstein's           2       not to answer these questions anymore.
 3   residences did you see                 at?              3       These do not appear -- I let this go on,
 4       A. I don't have a memory of                         4       they don't appear to be tied to the
 5   where I would have seen her.                            5       court's order as relating to sex or
 6       Q. Did you see her at some residence                6       massages or anything that's contained in
 7   or property?                                            7       the order. This is just simply what was
 8       A. I did.                                           8       somebody doing at some property at some
 9       Q. Of Mr. Epstein?                                  9       point in time. So don't answer these
10       A. I did.                                          10       questions.
11       Q. You just can't remember which ones,             11       Q. It is your assertion that, leaving
12   is that fair?                                          12   Mr. Epstein aside, none of the people on this
13       A. Yes, that's fair.                               13   list engaged in sexual activities with either
14       Q.                     , which residences of       14   you or Mr. Epstein, correct?
15   Mr. Epstein did you see              at?               15          MR. PAGLIUCA: Objection to form
16       A. I don't actually recall meeting                 16       and foundation.
17            , so I can't recall.                          17       A. I can only testify to myself. I
18       Q. So                      may be somebody         18   cannot testify to Mr. Epstein.
19   who you never met, is that your testimony?             19       Q. With respect to Mr. Epstein, do you
20       A. No, I'm not saying that. I just                 20   know, one way or another, whether any of
21   don't recall her really at all. I'm sorry, I           21   these people engaged in sexual activities?
22   don't recall.                                          22       A. With respect to Mr. Epstein, how
23       Q. Did you see              at some                23   would I know that?
24   residence or property of Mr. Epstein?                  24       Q. The answer is lots of ways, but all
25       A. I don't recall.                                 25   I can do is ask you whether you know it or
                                                 Page 187                                                 Page 189
 1       G. Maxwell - Confidential                           1       G. Maxwell - Confidential
 2      Q.               , what properties of                2   not.
 3   Mr. Epstein did you see               at?               3       A. I don't.
 4      A. Palm Beach, and I believe New                     4       Q. Do you have any reason to believe
 5   Mexico and New York.                                    5   -- because I don't want to get stuck on your
 6      Q. And                                               6   concept of personal knowledge -- do you have
 7      A. Palm Beach, I believe.                            7   any reason to believe that any of the people
 8      Q. And what was                     doing at         8   on this list had sexual activities with
 9   Palm Beach when you saw her?                            9   Mr. Epstein?
10      A. If I remember correctly, she was a               10       A. I do not.
11   real estate broker.                                    11       Q. Do you have any reason to believe
12      Q. Did you see                   at                 12   that any of these people had massages at any
13   Mr. Epstein's Virgin Island property?                  13   Epstein property?
14      A. I don't recall.                                  14       A. I have no idea. It's entirely
15      Q. When you saw                  in Palm            15   possible, but I have no idea.
16   Beach and New Mexico and New York, what was            16       Q. Do you have any reason to believe
17   she doing?                                             17   that any of the people on this list, other
18      A. I don't know.                                    18   than Mr. Epstein himself, engaged in sexual
19      Q. Do you know why she was there?                   19   activities with anyone on Mr. Epstein's
20      A. I think she was just a friend.                   20   properties?
21      Q. A friend of Mr. Epstein's?                       21       A. I have no reason to believe that.
22      A. Yeah.                                            22       Q. Let me go to                        .
23      Q.                   , what Epstein                 23   I asked you some questions about
24   properties did you see her at?                         24              earlier and about a possible visit
25          MR. PAGLIUCA: I will now tell you               25   to that residence of a               . Do you




                                                                                 48 (Pages 186 to 189)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 50 of 73
                                                 Confidential
                                                Page 190                                           Page 192
 1        G. Maxwell - Confidential                         1    G. Maxwell - Confidential
 2   recall that subject generally?                         2       MR. PAGLIUCA: I want to make a
 3       A. I recall you asking me a question               3   record here before we are done. I do
 4   about it, yes, I do.                                   4   get a chance to speak. Are we going off
 5       Q. Let me ask about another time at                5   the record now?
 6   the                   . Were you ever at the           6       MR. BOIES: You want to talk on the
 7                      with people who worked at the       7   record?
 8   Epstein residence?                                     8       MR. PAGLIUCA: Yes, is that okay
 9          MR. PAGLIUCA: Objection to form                 9   with you?
10       and foundation.                                   10       MR. BOIES: You want to ask her
11       A. No.                                            11   questions?
12       Q. Were you ever at the                           12       MR. PAGLIUCA: No. I want to make
13              when there were a number of females        13   a record of your closing of the
14   under the age of 21 dancing?                          14   deposition.
15       A. Excuse me?                                     15       MR. BOIES: I don't know how you
16       Q. Were you ever at the                           16   can make a record of my closing the
17              when there were a number of females        17   deposition, but if you want to take up
18   under the age of 21 dancing?                          18   the time and the transcript space to
19       A. The only people I have seen dancing            19   talk as opposed to writing a letter or
20   at any                                     .          20   filing a motion, go for it.
21       Q. Just those children, no other                  21       MR. PAGLIUCA: To the extent you
22   children?                                             22   have questions that are within the
23       A. No other children.                             23   court's order that you haven't asked,
24       Q. Were you ever at the                           24   that I haven't objected to, meaning no
25              when females who you had seen at           25   other questions, this deposition is
                                                Page 191                                           Page 193
 1       G. Maxwell - Confidential                          1    G. Maxwell - Confidential
 2   the residences of Mr. Epstein,                         2   closed.
 3                       , were present and dancing?        3       If there are questions that I have
 4      A. Can you ask me the question again?               4   instructed the witness not to answer and
 5      Q. Sure. I'm focusing on                            5   it later turns out the judge disagrees
 6              and I'm focusing on children other          6   with my characterization, we will be
 7   than                     .                             7   back to revisit it, but we are done as
 8      A. I'm there.                                       8   far as I'm concerned.
 9      Q. I'm asking whether you were ever at              9       MR. BOIES: The deposition is not
10                         where there were females        10   closed. There are a number of
11   other than the                  who were              11   instructions not to answer. I think it
12   dancing.                                              12   is a fair point that if the court were
13      A. I've never witnessed --                         13   to conclude that none of the questions
14          MR. PAGLIUCA: Objection to form                14   that have been instructed need to be
15      and foundation.                                    15   answered, we're not going to be
16      A.                         , who I have            16   continuing the deposition, barring some
17   certainly seen dancing, I don't recall any            17   additional information coming to light.
18   dancing at                               by any       18       MR. PAGLIUCA: I think we agree
19   other people.                                         19   then.
20          MR. BOIES: I think pending                     20       THE VIDEOGRAPHER: The time is 2:51
21      resolution of the instructions not to              21   p.m., and we are going off the record.
22      answer, I don't have any further                   22       (Time noted: 2:51 p.m.)
23      questions at this time. If you give me             23
24      a minute, just to check.                           24
25          Thank you very much.                           25




                                                                            49 (Pages 190 to 193)
          Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 51 of 73
                                            Confidential
                                           Page 194                                                  Page 196
 1                                                     1
 2            ---                                      2             ---
 3           INDEX                                     3   Questions Marked
 4            ---                                      4   Page Line Page Line       Page Line
 5                                                     5   None
 6   GHISLAINE MAXWELL                     PAGE        6             ---
 7    By Mr. Boies                4                    7
 8                                                     8
 9             ---                                     9
10            EXHIBITS                                10
11             ---                                    11
12   EXHIBIT                    PAGE                  12
13   Exhibit 26 List of names       23                13
14   Exhibit 27 Article          94                   14
15   Exhibit 28 List of names      135                15
16                                                    16
17                                                    17
18                                                    18
19                                                    19
20                                                    20
21                                                    21
22                                                    22
23                                                    23
24                                                    24
25                                                    25
                                           Page 195                                                  Page 197
 1                                                     1
 2              ---                                    2             CERTIFICATE
 3         DEPOSITION SUPPORT INDEX                    3
 4              ---                                    4
 5   Direction to Witness Not to Answer                5         I HEREBY CERTIFY that GHISLAINE
 6   Page Line Page Line Page Line                     6   MAXWELL, was duly sworn by me and that the
 7    50 22 50 25 51 5                                 7   deposition is a true record of the testimony
 8    51 9 51 17 51 22                                 8   given by the witness.
 9    52 2 81 17 82 6                                  9
10    82 25 83 7 94 21
                                                      10         _______________________________
                                                      11         Leslie Fagin,
11    95 6 98 12 118 11
                                                                 Registered Professional Reporter
12   142 6 142 13 165 16                              12         Dated: July 22, 2016
13   165 25 169 22 172 13                             13
14   172 22 173 4 173 24                              14
15   174 5 175 9 175 17                               15          (The foregoing certification of
16   175 25 176 8 183 14                              16   this transcript does not apply to any
17   186 23                                           17   reproduction of the same by any means, unless
18              ---                                   18   under the direct control and/or supervision
19   Request for Production of Documents              19   of the certifying reporter.)
20   Page Line Page Line Page Line                    20
21   None                                             21
22              ---                                   22
23   Stipulations                                     23
24   Page Line Page Line Page Line                    24
25   None                                             25




                                                                           50 (Pages 194 to 197)
           Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 52 of 73
                                                     Confidential
                                                     Page 198
 1
 2         ACKNOWLEDGMENT OF DEPONENT
 3
 4
 5          I,              , do hereby
 6   certify that I have read the foregoing pages,
 7   and that the same is a correct transcription
 8   of the answers given by me to the questions
 9   therein propounded, except for the
10   corrections or changes in form or substance,
11   if any, noted in the attached Errata Sheet.
12
13
14
15
16   GHISLAINE MAXWELL                   DATE
17
18
19
20   Subscribed and sworn
     to before me this
21        day of          , 2016.
22   My commission expires:
23
     Notary Public
24
25
                                                     Page 199
 1
 2         ------
           ERRATA
 3         ------
     PAGE LINE CHANGE
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25




                                                                    51 (Pages 198 to 199)
    Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 53 of 73
                              Confidential
                                                                           Page 1

A
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 54 of 73
                          Confidential
                                                                       Page 2




               B
    Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 55 of 73
                              Confidential
                                                                           Page 3




C
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 56 of 73
                          Confidential
                                                                       Page 4




                                 D
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 57 of 73
                          Confidential
                                                                       Page 5




                                                  E
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 58 of 73
                          Confidential
                                                                           Page 6




                                                                       F
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 59 of 73
                          Confidential
                                                                           Page 7




                                                                       G
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 60 of 73
                          Confidential
                                                                       Page 8




                                                  H
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 61 of 73
                          Confidential
                                                                       Page 9




                I
    Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 62 of 73
                              Confidential
                                                                           Page 10




J                  K




                                                      L
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 63 of 73
                          Confidential
                                                                       Page 11




               M
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 64 of 73
                          Confidential
                                                                       Page 12




                                 N
    Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 65 of 73
                              Confidential
                                                                           Page 13

O




                                                      P
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 66 of 73
                          Confidential
                                                                       Page 14
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 67 of 73
                          Confidential
                                                                       Page 15

                                 Q




                                                  R
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 68 of 73
                          Confidential
                                                                       Page 16
    Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 69 of 73
                              Confidential
                                                                           Page 17

S
Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 70 of 73
                          Confidential
                                                                       Page 18




                                                  T
         Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 71 of 73
                                   Confidential
                                                                                Page 19

58:25 76:20 78:19




                                                                                U
    Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 72 of 73
                              Confidential
                                                                           Page 20




                                     W




V
    Case 1:15-cv-07433-LAP Document 1201-14 Filed 01/27/21 Page 73 of 73
                              Confidential
                                                                           Page 21

X                  0                                                       6



Y                  1
                                                                           7


                                                                           8


                                     2




                                                       3                   9




                                                       4




                                                       5




Z
